THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
AT KNOXVlLLE
ROBERT T. STOOKSBURY, JR.,

Plaintiff,

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.°

v.

MICHAEL L ROSS; LTR PROPERTIES, INC.;

VPI COMPANY, LLC;

RARITY BAY REALTY, INC., EVELYN W. ROSS,

TED DOUKAS; ATHENA OF SC, LLC;

AMERICAN HARPER CORPORPORATION;
AMERICAN HARPER CORPORATION, d/b/a

RP CC MANAGEMENT COMPANY, and d/b/a

RB CC MANAGEMENT COMPANY;

LIKOS OF TENNESSEE, INC.; RAPOSO REALTY, LLC;
BRETON EQUITY COMPANY CORP.; EFASTOS CORP.;
GISELLE TEIXEIRA, a/k/a GISELLE DOUKAS;
REBECCA ROSE ROSS JORDAN;

RARITY MANAGEMENT COMPANY, LLC;

PATRICIA ROSS, individually and as

personal rep. of the Estate of Dale Ross;

JAMES F. MACRI; TENNESSEE LAND AND LAKES, LLC;
NJS DEVELOPMENT COMPANY, LLC;

WH McCOLLUM & CO., LLC;

RM COMPANY, LLC; PINE MOUNTAIN PARTNERSHIP;
PINE MOUNTAIN PROPERTIES, G.P.,

RMT COTTAGES, LLC, RMT PROPERTIES, LLC,

RMT PROPERTIES, LP, RMT VILLAGE SHOPS, LLC,
PM PROPERTIES OF TENNESSEE, LP,

PM PROPERTIES OF TENNESSEE, LLC,

PM PROPERTIES #2 OF TENNESSEE, LP,

PM PROPERTIES #2 OF TENNESSEE, LLC,

PM PROPERTIES #3 OF TENNESSEE, LP,

PM PROPERTIES #3 OF TENNESSEE, LLC,

M&D ROSS RENTALS; OR PROPERTIES, LLC;

CC PROPERTIES, LLC;

CCNSUMER RESEARCH COMPANY;

RFD, LLC; HDP PROPERTIES, LLC;

RRT PROPERTIES, LLC; VONORE PROPERTIES, LLC;
WFD COMPANY, INC.; R.P.M. RECOVERIES, INC.;

JURY DEMAND

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TELLICO COMMUNITIES, LLC; RCCA COMPANY, INC; )
RMT CH PROPERTIES, LLC; and LTR MARINA, LLC,

)
)
Defendants. )
COMPLAINT
Plaintiff Robert T. Stooksbury, Jr., by and through counsel, brings this action against
these Defendants based upon the following grounds for relief.
JURISDICTION AND VENUE
l. This Honorable Court has subject matter jurisdiction in this case pursuant to the
provisions of 28 U.S.C. §1331 (federal question) because Defendants’ conduct that is the subject
of this case arises out of an illegal real estate conveyance enterprise and conspiracy in which
Defendants were actively involved in violation of the Racketeer Influenced and Corrupt
Organizations Act, 18 U.S.C. §§1961, et seq. (RICO). The referenced illegal real estate
conveyance enterprise and conspiracy is described more fully beloW.

2. Additionally, this Court has subject matter jurisdiction because this is an ancillary
enforcement proceeding which specifically relates to conduct committed in derogation of the
enforcement of a Judgment entered in the case of Stooksburv v. Ross, et al.. in the United States
District Court for the Eastern District of Tennessee, docket number 3:09-cv-00498 (the “2009
Federal RICO case”).

3. As the record reflects in the 2009 Federal RICO case: Judgment was entered on
March 6, 2012, in accordance with the jury’s verdict as to the amount of compensatory and
punitive damages [Doc. 390] (a true copy of which is hereto attached as Exhibit l); an Order

was subsequently entered on May 30, 2012, awarding Plaintiff treble damages pursuant to 18

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U.S.C. § l964(c) [Doc. 393]; and an Order was entered on August 23, 2012, awarding Plaintiff’s
attorneys’ fees and costs pursuant to 18 U.S.C. § l964(c) [Doc. 708]. Those Defendants against
whom the referenced Judgment was entered shall be collectively referenced herein as the
“Judgment Debtors.”

4. As part of post-judgment proceedings in the 2009 Federal RICO case, the Court
entered an Order on May 23, 2012, appointing a Receiver and precluding the Judgment Debtors
from engaging in certain conduct, including transferring, conveying and encumbering assets
[Doc. 548] (a true copy of which is hereto attached as Exhibit 2).

5. Because this Court has the inherent authority to enforce its judgments and because
this case in significant part seeks relief pertaining to the Receivership and the post-judgment
investigation of the Receiver on account of fraudulent conveyances made at relevant times by the
Judgment Debtors and/or their agents in conjunction with the insiders and/or related entities who
are also Defendants herein, this Court is vested with ancillary, supplemental and/or enforcement
jurisdiction in this case pursuant to 28 U.S.C. §§ 754 and 1692.

6. Plaintiff specifically contends that the property and assets that are the subject of
the fraudulent conveyances described herein should be part of the Receivership previously
established by the Court in the 2009 Federal RICO case and/or a Receivership established in this
case,

7. Additionally, this Court has subject matter jurisdiction in this case because

Defendants’ actions and omissions, described more fully below, violate federal common law.

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8. Pursuant to 28 U.S.C. § 1367, this Court has ancillary jurisdiction of Plaintiff’s
state law claims set forth herein, because such claims are so related to the claims in this action
Within the Court's original jurisdiction that they form part of the same case or controversy.

9. The Court has in personam jurisdiction over the Defendants herein because each
of the Defendants was regularly doing business within this judicial district at relevant times,
personally and/or through agents and/or one or more business entities.

lO. Venue is proper in this judicial district pursuant to the provisions of 28 U.S.C. §
1391 and 18 U.S.C. § l965(a), in that all or a substantial part of the events giving rise to
Plaintiff‘s claims occurred in this judicial district

THE NATURE OF THE CASE

ll. This is an action for damages to Plaintiff and for injunctive relief on account of
for Defendants’: (a) violations of the Racketeer Influenced and Corrupt Organizations Act, 18
U.S.C. §§1961, et seq., (RICO); (b) wrongful conduct which constitutes actual and constructive
fraud, a fraud on this Honorable Court, and/or a fraud on the United States Bankruptcy Court for
the Eastem District of Tennessee; hand (c) for the commission and facilitation of fraudulent
conveyances

12. Plaintiff’s damages were proximately, directly and legally caused by Defendants’
wrongful conduct and the injunctive relief requested by Plaintiff in this action is well supported,
appropriate pursuant to the Federal Rules of Civil Procedure and the attendant case law, and
necessary to avoid irreparable harm to the Plaintiff, as well as homeowners at the subject real

estate developments

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13. At relevant times during the pendency of the 2009 Federal RICO case, which
remains in litigation, the Judgment Debtors who are Defendants herein, themselves and through
their agents and various business entities controlled by them, entered into agreements and
transactions with third parties (who are also Defendants herein) for the plu'pose of transferring
and/or encumbering the Judgment Debtors’ property, property rights, and other assets to hinder,
delay, and defraud the Plaintiff. When engaging in these transactions and incurring these
obligations, the Judgment Debtors failed to receive a reasonably equivalent value in exchange for
the referenced transfers or obligations Because of these fraudulent agreements and transactions
which have occurred at various times from the commencement of the 2009 Federal RICO case
through the present, said Judgment Debtors were rendered substantially insolvent.

14. Based on the equitable and inherent powers of the Court, Plaintiff respectfully
requests: (a) that the Receiver previously appointed in the 2009 Federal RICO case be appointed
as Receiver in this related action during the pendency of this case; (b) that the Receiver have
immediate oversight over all assets that are the subject of this action in order to preserve the
status quo, to preserve the assets, and to prevent further waste of the assets; (c) that Defendants
promptly provide the Receiver with an accounting of the assets that are the subject of this action,
as well as an accounting of all transfers, expenditures or encumbrances of their assets during the
time period relevant to this action; (d) that the subject agreements and transfers be set aside as a
fraud on this Court and/or as fraudulent conveyances; (e) that Defendants be completely divested
of any and all interest in the subject assets, that Defendants restore any funds or assets
improperly taken or expended, and that Defendants forfeit any hinds used or expended to

facilitate the fraudulent transfers and conveyances that are the subject of this action; (t) that the

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assets that are the subject of this action be seized and sold and/or used to the fullest extent
necessary to satisfy Plaintist judgment in the 2009 Federal RICO case; and (g) that Defendants
be enjoined from transferring, wasting, expending, encumbering or making any other
dispositions of any entity or asset in their control that relates in any manner to assets formerly
owned by the Judgment Debtors pending the resolution of this action and the full satisfaction of
Plaintist Judgment in the 2009 Federal RICO case, absent Defendants first obtaining
permission from the Court,

15. The individuals primarily involved in the agreements, transfers and conveyances
that are the subject of this action are: Judgment Debtor and Defendant Michael L. Ross (himself
and through his authorized agents and attomeys, including but not limited to attorney John
Stravato); Judgment Debtor and Defendant Rebecca Rose Ross Jordan (herself, and through her
authorized agents, including Michael L. Ross and others); Judgment Debtor and Defendant
Patricia Ross (who at times relevant to this action, was acting both in her individual capacity for
her personal benefit, as well as on behalf of the Estate of Dale Ross); Defendant 'l`ed Doukas
(himself and through his authorized agents and attomeys, including but not limited to attorneys
John Stravato and Gary Goldstein); Defendant James F. Macri (himself and through his
authorized agents and attorneys); Defendant Evelyn W. Ross (wife of Judgment Debtor and
Defendant Michael L. Ross, herself and through her authorized agents, including but not limited
to Michael L. Ross and his attorneys); and Defendant Giselle Teixeira, also known as Giselle
Doukas (wife of Defendant Ted Doukas, herself and through her authorized agents, including but

not limited to Ted Doukas and his attorneys).

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THE PARTIES TO THIS ACTION

16. Plaintiff Robert T. Stooksbury, Jr., is a citizen and resident of Knox County,
Tennessee.

l7. Defendant Michael L. Ross (“Ross”), a Judgment Debtor in the 2009 Federal
RICO case, is a citizen and resident of Blount County, 'l`ennessee, and may be served by process
at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

18. Defendant LTR Properties, lnc., a Judgment Debtor in the 2009 Federal RICO
case, is a domestic corporation which may be served through its registered agent, Michael L.
Ross

l9. Tellico Lake Properties, L.P., a Judgment Debtor in the 2009 Federal RICO case,
is a domestic limited partnership which may likewise be served through its registered agent,
Michael L. Ross, at its principal executive office, which is located at 2624 Carpenters Grade
Road, Maryville, Tennessee 37803, if and when it is made a party, should the United States
Bankruptcy Court lift the automatic stay in the pending Chapter 7 proceeding which is
referenced herein.l

20. Defendant VPI Company, LLC, a Judgment Debtor in the 2009 Federal RICO
case, is a domestic limited liability company which may be served through its registered agent,

Michael L. Ross.

 

' In the pending Chapter 7 proceeding involving Tellico Lake Properties, LP, in the United States
Bankruptcy Court in this district, case no. 3:12-bk-34034, Plaintiff has moved to lift the stay for
the purpose of allowing Tellico Lake Properties, LP, to be made a party to this proceeding.

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21. Defendant Rarity Bay Realty, Inc., is a Tennessee corporation which may be
served through its registered agent for service of process, Michael Ross, at 100 Rarity Bay
Parkway, Vonore, Tennessee 37885.

22. Defendant Evelyn Ross, wife of Defendant Michael L. Ross, is a citizen and
resident of Blount County, Tennessee, and may be served with process at 2624 Carpenters Grade
Road, Maryville, Tennessee 37803.

23. Defendant Ted Doukas is a citizen and resident of the State of Florida and may be
served with process at 19202 Cloister Lake Lane, Boca Raton, Florida 33498.

24. Defendant Athena of SC, LLC, is a South Carolina for profit LLC, which may be
served through its registered agent for service of process, United Corporate Services, Inc., 2
Office Park Court, Suite 103, Columbia, South Carolina 29223.

25. Defendant American Harper Corporation, itself and doing business as “RP CC
Management Company” and “RB CC Management Company,” is a Nevada corporation which
may be served through its registered agent for service of process, United Corporate Services,
Inc., 202 South Minnesota St., Carson City, Nevada 89703.

26. Defendant Likos of Tennessee, Inc. is a Tennessee corporation which may be
served through its registered agent for service of process, United Corporate Services, Inc., at 401
Commerce St., Suite 710, Nashville, Tennessee 37219.

27. Defendant Raposo Realty, LLC is a Tennessee limited liability company, which
may be served through its registered agent for service of process, United Corporate Services,

Inc., at 401 Commerce St., Suite 710, SunTrust Plaza, Nashville, Tennessee 37219.

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28. Defendant Breton Equity Company Corp. is a foreign corporation organized in the
state of Nevada Which may be served through its registered agent for service of process, United
Corporate Services, Inc., 202 South Minnesota St., Carson City, Nevada 89703.

29. Defendant Efastos Corp. is a New York domestic business corporation, which
may be served at its principal executive offices located at 70 Split Rock Road, Syosset, New
York 11791.

30. Defendant Giselle Teixeira, also known as Giselle Doukas, wife of Defendant Ted
Doukas, is a citizen and resident of the state of Florida, and may be served with process at 19202
Cloister Lake Lane, Boca Raton, Florida 33498.

31. Defendant Rebecca Rose Ross Jordan, a Judgment Debtor in the 2009 Federal
RICO case, is a citizen and resident of Blount County, Tennessee, and may be served at 600 S.
Cedar St., Maryville, Tennessee,

32. Defendant Rarity Management Company, LLC, a Judgment Debtor in the 2009
Federal RICO case, is a Tennessee limited liability company which may be served through its
registered agent for service of process, Michael Ross, at 2624 Carpenters Grade Road, Maryville,
Tennessee 37803.

33. Defendant Patricia Ross, individually and as personal representative of the Estate
of Dale Ross, is a citizen and resident of Blount County, Tennessee, and may be served with
process at 702 S. Cedar St., Maryville, Tennessee; said Defendant is a Judgment Debtor in the

2009 Federal RICO case in her capacity as personal representative of the Estate of Dale Ross.

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34. Defendant James F. Macri is a citizen and resident of Blount County, Tennessee,
and may be served with service of process at 4236 Ridge Water Road, Louisville, Tennessee
37777.

35. Defendant Tennessee Land and Lakes, LLC, is a domestic limited liability
company which may be served through its registered agent, Gregory D. Shanks, 406 Union
Avenue, Suite 600, Knoxville, Tennessee 37902.

36. Defendant NJS Development Company, LLC, is al domestic limited liability
company which may be served through its registered agent, Michael L. Ross, at its principal
executive office, which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

37. Defendant WH McCollum & Co., LLC, is a domestic limited liability company
which may be served through its registered agent, Michael L. Ross, at its principal executive
office, which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

38. Defendant RM Company, LLC, a Judgment Debtor in the 2009 Federal RICO
case, is a domestic limited liability company which may be served through its registered agent,
Michael L. Ross, at its principal executive office, which is located at 2624 Carpenters Grade
Road, Maryville, Tennessee 37803. To the extent this entity is inactive and/or has been
administratively dissolved because of the failure to comply with requirements of the Tennessee
Secretary of State, this entity should be deemed to be an unincorporated business entity owned
and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant Michael L. Ross

and may be served through Mr. Ross at the address noted above.

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39. Defendant Pine Mountain Partnership is a partnership and/or association which
may be served through partner and/or principal Michael L. Ross at 2624 Carpenters Grade Road,
Maryville, Tennessee 37803.

40. Defendant Pine Mountain Properties, GP, is a domestic partnership which may be
served through its general partner and/or principal Michael L. Ross at 2624 Carpenters Grade
Road, Maryville, Tennessee 37803.

41. Defendant RMT Cottages, LLC, is a domestic limited liability company which
may be served through its registered agent, Michael L. Ross, at its principal executive office,
which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

42. Defendant RMT Properties, LLC, is a domestic limited liability company which
may be served through its registered agent, Michael L. Ross, at its principal executive oHice,
which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

43. Defendant RMT Properties, LP, is a domestic limited partnership which may be
served through its registered agent, Michael L. Ross, at its principal executive office, which is
located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

44. Defendant RMT Village Shops, LLC, is a domestic limited liability company
which may be served through its registered agent, Michael L. Ross, at its principal executive
office, which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

45. Defendant PM Properties of Tennessee, LP, is a Tennessee limited liability
company, which may be served through its registered agent for service of process, David W.
Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this

entity is inactive and/or has been administratively dissolved because of the failure to comply

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with requirements of the Tennessee Secretary of State, this entity should be deemed to be an
unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the
alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted
above.

46. Defendant PM Properties of Tennessee, LLC, is a Tennessee limited liability
company, which may be served through its registered agent for service of process, David W.
Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this
entity is inactive and/or has been administratively dissolved because of the failure to comply
with requirements of the Tennessee Secretary of State, this entity should be deemed to be an
unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the
alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted
above.

47. Defendant PM Properties #2 of Tennessee, L.P. is a Tennessee limited
partnership, which may be served through its registered agent for service of process, David W.
Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this
entity is inactive and/or has been administratively dissolved because of the failure to comply
with requirements of the Tennessee Secretary of State, this entity should be deemed to be an
unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the
alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted
above.

48. Defendant PM Properties #2 of Tennessee, LLC is a Tennessee limited liability

company, which may be served through its registered agent for service of process, David W.

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Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this
entity is inactive and/or has been administratively dissolved because of the failure to comply
with requirements of the Tennessee Secretary of State, this entity should be deemed to be an
unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the
alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted
above.

49. Defendant PM Properties #3 of Tennessee, L.P. is a Tennessee limited
partnership, which may be served through its registered agent for service of process, David W.
Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this
entity is inactive and/or has been administratively dissolved because of the failure to comply
with requirements of the Tennessee Secretary of State, this entity should be deemed to be an
unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the
alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted
above. b

50. Defendant PM Properties #3 of Tennessee, LLC is a Tennessee limited
partnership, which may be served through its registered agent for service of process, David W.
Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this
entity is inactive and/or has been administratively dissolved because of the failure to comply
with requirements of the Tennessee Secretary of State, this entity should be deemed to be an
unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the
alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted

above.

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51. Defendant M&D Ross Rentals, is a partnership or association controlled by
Defendant Michael Ross which may be served at the address for Mr. Ross noted above.

52. Defendant OR Properties, LLC, is a domestic limited liability company Which
may be served through its registered agent, Michael L. Ross, at its principal executive office,
which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803. To the extent this
entity is inactive and/or has been administratively dissolved because of the failure to comply
with requirements of the Tennessee Secretary of State, this entity should be deemed to be an
unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the
alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted
above.

53. Defendant CC Properties, LLC, is a domestic limited liability company which
may be served through its registered agent, Michael L. Ross, at its principal executive office,
which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

54. Defendant Consumer Research Company is a domestic business entity or
association which may be served through Evelyn W. Ross at 2624 Carpenters Grade Road,
Maryville, Tennessee 37803.

55. Defendant RFD, LLC, is a domestic limited liability company which may be
served through its registered agent, Michael L. Ross, at its principal executive office, which is
located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

56. Defendant HDP Properties, LLC, is a Wyoming limited liability company Which
may be served through its registered agent, WyomingRegisteredAgent.com, Inc., 1621 Central

Avenue, Cheyenne, Wyoming 82001. To the extent this entity is inactive and/or has been

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administratively dissolved because of the failure to comply with requirements of the Wyoming
Secretary of State, this entity should be deemed to be an unincorporated business entity owned
and controlled by Defendant Michael L. Ross and may be served through Mr. Ross at the address
noted above.

57. Defendant Vonore Properties, LLC, is a domestic limited liability company which
may be served through its registered agent, Michael L. Ross

58. Defendant WFD Company, Inc. is a Tennessee domestic corporation, which may
be served through its registered agent for service of process, David T. Black, 329 Cates Street,
Maryville, Tennessee 37801. To the extent this entity is inactive and/or has been
administratively dissolved because of the failure to comply with requirements of the Tennessee
Secretary of State, this entity should be deemed to be an unincorporated business entity owned
and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant Michael L. Ross
and may be served through Mr. Ross at the address noted above.

59. Defendant R.P.M. Recoveries, Inc., which may be served through its principal
officer/ agent Ted Doukas at Mr. Doukas’ address above.

60. Defendant RRT Properties, LLC, is a Tennessee limited liability company, which
may be served through its registered agent for service of process, Wendy Joiner, 416 Rule Street,
Maryville, Tennessee 37804. To the extent this entity is inactive and/or has been
administratively dissolved because of the failure to comply with requirements of the Tennessee
Secretary of State, this entity should be deemed to be an unincorporated business entity owned
and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant Michael L. Ross

and may be served through Mr. Ross at the address noted above.

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61. Defendant Tellico Communities, LLC. is a Tennessee domestic corporation,
which may be served through its registered agent for service of process, Michael L. Ross, 2624
Carpenters Grade Road, Maryville, Tennessee 37803. To the extent this entity is inactive and/or
has been administratively dissolved because of the failure to comply with requirements of the
Tennessee Secretary of State, this entity should be deemed to be an unincorporated business
entity owned and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant
Michael L. Ross and may be served through Mr. Ross at the address noted above.

62. Defendant RCCA Company, Inc. is a Tennessee domestic corporation, which may
be served through its registered agent for service of process, Michael L. Ross, 2624 Carpenters
Grade Road, Maryville, Tennessee 37803.

63. Defendant RMT CH Properties, LLC, is a domestic limited liability company
which may be served through its registered agent for service of process, Michael L. Ross, 2624
Carpenters Grade Road, Maryville, Tennessee 37803.

64. Defendant LTR Marina, LLC is a Tennessee limited liability company, which
may be served through its registered agent for service of process, Michael L. Ross, 2624
Carpenters Grade Road, Maryville, Tennessee 37803. To the extent this entity is inactive and/or
has been administratively dissolved because of the failure to comply With requirements of the
Tennessee Secretary of State, this entity should be deemed to be an unincorporated business
entity owned and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant

Michael L. Ross and may be served through Mr. Ross at the address noted above.

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STATEMENT OF FACTS

The Underlying Litigation and Judgment in the 2009 F ederal RICO Case

65. On or about April 2, 2009, Mr. Stooksbury filed a damages action in Blount
County Chancery Court, case no. 09-057, against Defendants Michael Ross, LTR Properties,
Inc., Rarity Management Company, LLC, and others for fraud and conversion, as well as other
causes of action,

66. At all times relevant to this action, Rarity Management Company, LLC, was
owned by Defendant Rebecca Ross Jordan, Defendant Michael Ross’ niece. `

67. Following additional investigation into the conduct of Mr. Ross, Ms. Jordan, and
others, Mr. Stooksbury filed the 2009 Federal RICO case on November 18, 2009, against the
Judgment Debtors, as well as other individuals outlining several causes of action for damages
arising out of the operation of an illegal real estate enterprise and conspiracy involving several
“Rarity” real estate developments

68. During the pendency of the 2009 Federal RICO case, Mr. Stooksbury learned of
some transfers of property and assets made by and between some of the Judgment Debtors and
their relatives and/or affiliates for which the Judgment Debtors did not receive equivalent value
and which, on their face, appeared to be fraudulent Accordingly, in the summer of 2011,
Plaintiff filed actions and liens lis pendens in several counties in Tennessee where the Judgment
Debtors’ property was located. These actions specifically referenced Plaintiff’s pending 2009
Federal RICO case and provided additional actual and constructive notice of Plaintiff’s pending
2009 Federal RICO claims to all of the Defendants herein, as well as to others True copies of

pleadings filed in those actions are of record in the 2009 Federal RICO case [Doc. 291-13].

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69. On or about March 18, 2011, New York attorney John Stravato appeared pro hac
vice for the Defendants in the Blount County case referenced above; a true copy of Mr.
Stravato’s application is in the record as Doc. 291-8 in the 2009 Federal RICO case and is hereto
attached as Exhibit 3. In the referenced motion and application, Mr. Stravato listed his office
address as “240 West Old Country Road, Hicksville, NY.”

70. On March 24, 2011, John Stravato also appeared in the 2009 Federal RICO case
as lead counsel of record for all of the Judgment Debtors [Doc. 128]; a true copy of the Order
granting Mr. Stravato’s motion to appear pro hac vice is hereto attached as Exhibit 4).

71 . Judgment Debtor Michael Ross had come to know Mr. Stravato on account of Mr.
Ross’ business relationship and friendship with Defendant Ted Doukas; Mr. Stravato had known
and previously worked with Mr. Doukas for many years and Mr. Stravato’s son had previously
engaged in business transactions with Mr. Doukas.

72. During the time period after the Judgment Debtors had engaged Mr. Stravato to
represent them in the referenced state and federal cases, the Defendants and Judgment Debtors
were cited by both the Blount County Chancery Court and the United States District Court for
contumacious and/or willful discovery violations, as the following orders reflect: the Blount
County Chancery Court order entered on August 24, 2011, a true copy of which is filed in the
record in the 2009 Federal RICO case as Doc. 291-7; the Report and Recommendation filed by
the United States Magistrate Judge on September 28, 2011, which is of record in the 2009
Federal RICO case as Doc. 185; and the orders and opinions entered by the United States District
Court on November 21, 2011, and January 30, 2012, which are of record in the 2009 Federal

RICO case as Docs. 209, 249 and 250, respectively.

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73. Further, during the same time period the Courts were holding the Judgment
Debtors accountable for the referenced discovery violations, Defendants Michael Ross, Evelyn
Ross, Rebecca Ross Jordan, Patricia Ross, Ted Doukas, Giselle Doukas, and James Macri (as
well as various business entities of theirs), themselves and through their agents, including but not
limited to attorneys John Stravato, Gary Goldstein, and others, were facilitating and participating
in an illegal and improper scheme to transfer millions of dollars of assets for the purpose of
hindering, delaying or defrauding Mr. Stooksbury.

74. For example, the Judgment Debtors’ counsel, Mr. Stravato, along with local
counsel, personally appeared on behalf of all of the Judgment Debtors at a hearing on September
26, 2011, before Magistrate Judge Guyton concerning the Judgment Debtors’ discovery
violations As Judge Guyton’s subsequent opinion reflects, Mr. Stravato admitted during the
hearing that a significant amount of documents had not been produced and offered no logical
explanation for it.

75. Just four days before the hearing, on September 22, 2011, Mr. Stravato had
facilitated an agreement for the initial set of fraudulent conveyances involving the Judgment
Debtors’ assets that are the subject of this action.

76. Further, shortly after Judge Guyton filed his Report and Recommendation
recommending entry of a default judgment against the Judgment Debtors for willful discovery
violations, the Judgment Debtors, themselves and with the assistance of Mr. Stravato and others,
engaged in a series of fraudulent conveyances with other Defendants herein over the next several

weeks

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77. In this manner, while the Judgment Debtors were frustrating and delaying Mr.
Stooksbury’s prosecution of the 2009 Federal RICO case, the Judgment Debtors were
fraudulently conveying millions of dollars in real property and assets in an effort to hinder, delay
and defraud Mr. Stooksbury.

78. Following entry of a default judgment against the Judgment Debtors on January
30, 2012, [Doc. 250], an Amended Final Pretiial Order was entered in the 2009 Federal RICO
case [Doc. 342], which established certain facts as a matter of law, including: that the Judgment
Debtors, through an illegal real estate enterprise and conspiracy lead by Michael Ross, generated
significant cash flow from various “Rarity” real estate developments, which were operated
essentially as a pyramid / Ponzi scheme; that the illegal real estate enterprise and conspiracy
generated in excess of 100 million dollars in cash flow in 2007 alone; that the illegal real estate
enterprise and conspiracy violated 18 U.S.C. §§ l962(c) and (d); that Defendants committed
multiple related acts of mail fraud and wire fraud, knew that their predicate acts were part of a
pattern of racketeering activity, and agreed to the commission of those acts; and that the
wrongful conduct was the direct, proximate and legal cause of the damages and losses suffered
by Mr. Stooksbury.

79. As an illustration of how the Judgment Debtors profited from the illegal real
estate enterprise and conspiracy that was the subject of the 2009 Federal RICO case, Defendant
Michael Ross’ financial statement for the calendar year 2006 reflected a net worth of
$127,000,000. Doc. 479, Tr. 2/29/12, Ex. 43f.

80. A jury trial was held beginning February 21, 2012, to determine the amount of

Mr. Stooksbury’s compensatory and punitive damages; verdicts were returned specifying those

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amounts on February 28, 2012, and March l, 2012, respectively. A Judgment was entered by the
clerk in accordance with the jury verdicts on March 6, 2012 [Doc. 390] (Exhibit 1, supra).

81. Subsequently, upon being apprised of numerous conveyances by the Judgment
Debtors which the Court found to be likely fraudulent, the Court entered an order precluding
Defendants from making further conveyances and appointed a Receiver to identify and preserve
the Judgment Debtors’ assets and to investigate the matters further [Doc. 548] (Exhibit 2, supra);
see also [Doc. 586]. The Receiver filed his initial report on September 7, 2012 [Doc. 732].

82. As the record in the underlying litigation reflects, by no later than November 18,
2009, as to all of the Judgment Debtors (and by April 2, 2009, as to Judgment Debtors Michael
Ross, Rebecca Jordan, LTR Properties, Inc., and Rarity Management Company, LLC), Mr.
Stooksbury was a “creditor” who had a “claim” against the Judgment Debtors as those terms are
known, understood and defined by the statutory and common laws of the United States of
American and the State of Tennessee, including but not limited to T.C.A. §§ 66-3-302, 66-3-305,
and 66-3-306 of the Tennessee Uniform Fraudulent Transfer Act,

83. In the fall and winter of 2011, and extending through the present, Judgment
Debtor Michael Ross, Defendant Ted Doukas, and Defendant J im Macri, themselves and through
their agents (including but not limited to attorneys John Stravato, Gary Goldstein, and others),
and for themselves and on behalf of various business entities in which they had an interest,
including Tellico Lake Properties, LP, LTR Properties, Inc., VPI Company, LLC, Athena of SC,
LLC, American Harper Corporation, and Tennessee Land and Lakes, LLC, devised and
participated in a scheme by which they would associate and collaborate to divide amongst

themselves various properties property rights, and future income streams from operations and

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sales at Rarity real` estate developments including those known as Rarity Bay and Rarity
Enclave, as well as other properties; Defendants Rebecca Ross Jordan, Patricia Ross, Evelyn
Ross, and Giselle Doukas, as well as their agents and business entities and the other Defendants
herein, facilitated, supported and participated in the scheme (“the Illegal Rarity Conveyance
Enterprise and Conspiracy”).

84. Much of the improper conduct and many of the predicate acts committed by and
on behalf of the individuals and entities referenced in paragraph 82 in furtherance of the Illegal
Rarity Conveyance Enterprise and Conspiracy occurred during the months of August,
September, October, November and December of 2011, and January, February and March of
2012, which were the months leading up to the Judgment in favor of Mr. Stooksbtu'y against the
Judgment Debtors in the 2009 Federal RICO case,

Improper Conduct and Predicate Acts in Furtherance of the Illegal Rarity
Conveyance Enterprise and Conspiracy in Violation of 18 U.S.C. § l962(c) and (d)

A. Overview and Background

85. During the fall of 201 1, Defendants Michael Ross, Ted Doukas, and James Macri,
themselves and through their agents and on behalf of several business entities in which each had
an interest, including Judgment Debtors / Defendants Tellico Lake Properties, LP, LTR
Properties, Inc., and VPI Company, LLC, and Defendants Athena of SC, LLC, and Tennessee
Land and Lakes, LLC, entered into a multi-party agreement, collectively agreeing that
substantially all of the Judgment Debtors’ assets in the development known as Rarity Enclave
would be transferred to Tennessee Land and Lakes, LLC, an entity owned and/or controlled in
pertinent part by James Macri, and substantially all of the Judgment Debtors’ other assets,
including assets in the development known as Rarity Bay, would be transferred to one or more

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companies owned or controlled by Mr. Ross and/or Mr. Doukas, As is outlined in greater detail
below, the cornerstone of the multi-party agreement was Tennessee Land and Lakes’ improper
and fraudulent acquisition of the declarant’s rights at Rarity Enclave from VPI Company, LLC,
one of Mr. Ross’ business entities which in turn was exchanged for the various other
components of the deal for the benefit of Mr. Ross, Mr. Doukas, their relatives and various
business entities controlled by them.

86. With regard to the transactions generally referenced iii paragraph 85 above,
Plaintiff specifically alleges that the Judgment Debtor / Defendants: (a) engaged in the
transactions with the intent to hinder, delay and defraud Plaintiff; (b) did not receive a reasonably
equivalent value in exchange for the transactions and were engaged in, or were about to engage
in, transactions which rendered said Judgment Debtors substantially insolvent; (c) were
transferring assets to entities which were affiliates in that the entities which obtained the
respective Judgment Debtor’s assets had agreed to exercise control over substantially all of each
such Judgment Debtor’s remaining assets as part of the referenced transactions and had formed
an association and/or joint venture or enterprise for the purpose of carrying out these
transactions and (d) violated 18 U.S.C. §§ 1961 _ 1968. Further, these transactions were key
components of the Illegal Rarity Conveyance Enterprise and Conspiracy described herein and
served as the foundation which enabled the other transactions in the scheme to be accomplished
thereafter.

87. During the operation of the various Rarity developments generally referenced in
the 2009 Federal RICO case, Michael Ross became acquainted with two other individuals Ted

Doukas and James Macri.

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88. On or about January 5, 2010, Mr. Doukas formed an entity named American
Harper Corporation in Nevada, listing his address as 70 Split Rock Road in Syosset, New York.
Plaintiff specifically alleges that American Harper Corporation was used by Mr. Doukas and
other Defendants to commit acts in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy during the time period relevant to this action.

89. On or about August ll, 2010, Ted Doukas formed a business entity in Tennessee
named Raposo Realty, LLC, which Mr. Doukas initially located in Mr. Ross’ offices at 1010
William Blount Drive in Maryville, Tennessee; Mr. Doukas listed himself as registered agent for
service of process and listed his address for service of process as Mr. Ross’ offices at 1010
William Blount Drive in Maryville, Tennessee, Plaintiff specifically alleges that Raposo Realty,
LLC was used by Mr. Doukas and other Defendants to commit acts in furtherance of the Illegal
Rarity Conveyance Enterprise and Conspiracy during the time period relevant to this action.

90. On or about March 29, 2011, Mr. Doukas formed an entity named Athena of SC,
LLC, in South Carolina, listing Mr. Doukas’ address as 4713 Villa Mare Lane, Naples Florida
34103, and listing United Corporate Services, Inc., as initial agent for service of process
Plaintiff specifically alleges that Athena of SC, LLC was used by Mr. Doukas and other
Defendants to commit acts in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy during the time period relevant to this action.

91. On or about November 22, 2011, Mr. Doukas formed a business entity in
Tennessee named Likos of Tennessee, Inc., listing its principal office address as 19202 Cloister
Lake Lane, Boca Raton, FL 33498-4856. United Corporate Services, Inc., was designated as

agent for service; Mr. Doukas’ Wife, Giselle Teixeira (also known as Giselle Teixeira Doukas),

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was listed as President; and the directors specified were Mr. Doukas and his wife. Plaintiff
specifically alleges that Likos of Tennessee, Inc. was owned by Giselle Doukas at all relevant
times but was used by Mr. Doukas and other Defendants to commit acts in furtherance of the
Illegal Rarity Conveyance Enterprise and Conspiracy.

92. During 2010 and continuing thereafter through the date of the filing of this action,
Mr. Ross and Mr. Doukas, through various entities controlled by them, engaged in various
transactions with one another involving real property and other assets and discussed various
schemes through which they could associate to maintain control of the Judgment Debtors’ assets

93. In 2010, Mr. Ross and Mr. Doukas worked together to facilitate Mr. Doukas’
acquisition of 47 lots at Rarity Bay, through an entity owned by Mr. Doukas These lots had
been owned previously by Tellico Lake Properties LP, an entity controlled by Mr. Ross. Tellico
Lake Properties had conveyed the lots by Quitclaim Deed (WD330/212-213) in 2008 to LTR
Properties Inc., an entity owned entirely by Mr. Ross The next day LTR Properties Inc.
conveyed by Warranty Deed (WD330/214-218) the same lots to Glenn Wright Homes
(Tennessee), LLC; Glenn Wright was at the time a business associate of Ted Doukas, Mr. Ross
signed as Affiant attesting the value of the property at the time of the transfer to Glenn Wright’s
entity to be $5,170,000. Mountain Commerce Bank thereafter loaned Glenn Wright Homes
('I`ennessee), LLC $3,360,000 on June 13, 2008, and subsequently assigned the note to First State
Financial on December 28, 2009 (M209/139-144). Following a default by Glenn Wright shortly
thereafter, a Successor Trustee’s Deed (WD344/331-332) conveyed the 47 lots on October 8,

2010, to Raposo Realty, LLC, listing Raposo Realty, LLC’s address as “1010 William Blount

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Drive, Maryville, TN 37801,” which was the location of Mr. Ross’ offices in Maryville (which
were being shared by Mr. Doukas).

94. Mr. Ross and Mr. Doukas personally guaranteed the new loan which Raposo
Realty, LLC, obtained to finance the 47 lots at Rarity Bay referenced above. Additionally, Mr.
Ross arranged for Raposo Realty, LLC, not to have to pay Rarity Bay Homeowners’ Association
fees on the 47 lots that were conveyed to Raposo Realty, LLC.

95. In the 2010 through 2011 timef`rame, Defendant James Macri and Mr. Ross had
several discussions about potential dealings where Mr. Macri, through a business entity in which
Mr. Macri had or would have an interest, would acquire an interest in one or more of the Rarity
developments for the purpose of aggressively marketing and selling lots at a significant discount.

96. Also during that time period, Mr. Macri, through a business entity controlled by
him, considered purchasing one or more bank notes encumbering one or more Rarity
developments and selling lots following foreclosure. However, one of the impediments to this
approach considered by Mr. Macri was how to deal with the “Declarant’s” or “Developer’s”
rights that were recorded for each of the Rarity developments which included covenants
conditions and restrictions with the property that were generally not subject to bank notes
Accordingly, Mr. Macri was concerned about paying money to acquire bank notes to obtain title
to property in a Rarity development, only to have to pay Mr. Ross or an entity controlled by Mr.
Ross membership fees and other costs each time a lot would sell. The substance of Mr. Macri’s
concerns on this subject is summarized in the letter sent by Mr. Macri on behalf of Tennessee
Land and Lakes, LLC, to First Bank on September 8, 2011, a true copy of which is hereto

attached as Exhibit 5.

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97. Meanwhile, at various times in 2010 and 2011, Mr. Ross and/or Mr. Doukas had
advised bank representatives that Mr. Doukas might be willing to buy one or more of the bank
notes encumbering the Rarity developments which were in default, after which Mr. Ross would
remain involved with the development However, the banks which were approached in that
manner were not interested in dealing with Mr. Doukas and Mr. Ross on that basis

98. Prior to and/or during the fall of 201 1, Defendants Michael Ross 'l`ed Doukas and
J ames Macri were aware that there were SunTrust Bank promissory notes encumbering property
at Rarity Bay owned by Judgment Debtors Tellico Lake Property, LP, and LTR Properties Inc.,
which were in default. During that same time period, said Defendants also were aware or
became aware that a First Bank note encumbered the property at Rarity Enclave and that the note
was in default. Rarity Enclave was owned by VPI Company, LLC -- an entity owned 100% by
Mr. Ross Said Defendants knew and/or understood that Mr. Ross was a personal guarantor on
both the SunTrust notes and the First Bank note.

99. One of the SunTrust notes referenced in paragraph 98 encumbered approximately
120 lots at Rarity Bay owned by Defendant Tellico Lakes Properties LP, and had been made on
or about August 1, 2008, for approximately $5,885,000 (which amount was subsequently
increased). The other SunTrust note encumbered approximately 11 condominiums owned by
Defendant LTR Properties Inc., and had been made on or about October 15, 2006, for
approximately $3,000,000. Subsequently, said Defendants defaulted on both notes leaving a
total balance owing of nearly $7,000,000, including interest and costs

100. The First Bank note referenced in paragraph 98 encumbered approximately 99

single farnin residential lots and the construction of infrastructure improvements at Rarity

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Enclave and had been made by VPI Company, LLC (and Mr. Ross) on or about December 7,
2007, for approximately $4,484,000. Said Defendants subsequently defaulted ori the First Bank
note and as of January 21, 2010, more than $4,300,000 remained owing, not including interest
and costs which accrued thereafter.

101. Following default on the Rarity Enclave note, First Bank sued VPI Company,
LLC, and Michael L. Ross on January 25, 2010, in Knox County Chancery Court, Docket No.
176927-1. Said Defendants disputed the suit and filed an answer and counter-claim against First
Bank on March 15, 2010.

102. Under the threat of foreclosure proceedings by First Bank, VPI Company, LLC,
through Mr. Ross as its Chief Manager, filed a Chapter 11 Bankruptcy action in the United States
Bankruptcy Court for the Eastem District of Tennessee on or about August 24, 2010.
Subsequently, First Bank obtained relief from the automatic stay from the Bankruptcy Court and
was allowed to continue to prosecute the referenced Chancery Court action.

B. The Multi-Par'ty Agreement Between James Macri, Michael Ross, and
Ted Doukas in the Fall of 2011 and the Conveyance of the Declarant’s
Rights for Rarity Enclave Outside of the Pending Bankruptcy Action.

103. By the fall of 2011, the First Bank case on the Rarity Enclave note was still
pending; the SunTrust notes encumbering property at Rarity Bay remained in default (but
without pending litigation or foreclosure proceedings); and Defendant James Macri had
contacted both First Bank and SunTrust to explore the potential of buying the referenced bank

notes

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104. lt was during this time period that negotiations took place that resulted in a multi-
party agreement that served as the foundation for the Illegal Rarity Conveyance Enterprise and
Conspiracy referenced in paragraphs 83 through 86 above.

105. During the course of the negotiations in the fall of 2011 between Defendants
James Macri, Michael Ross, Ted Doukas, said Defendants’ agents and by imputation the
business entities controlled by them, all parties knew that VPI Company, LLC, was in Chapter
11 bankruptcy in the United States District Court for the Eastem District of Tennessee.

106. During the course of those negotiations Defendants James Macri, Michael Ross
Ted Doukas, said Defendants’ agents and by imputation the business entities controlled by them,
also knew that the Covenants, Conditions and Restrictions for Rarity Enclave (“tlie Declarant’s
Rights for Rarity Enclave”) were owned by VPI Company, LLC, and were a valuable asset
belonging to VPI Company, LLC.

107. During the course of the negotiations Defendants James Macri, Michael Ross,
Ted Doukas, said Defendants’ agents and by imputation the business entities controlled by them,
had actual knowledge that an integral part of the deal being negotiated was the acquisition of the
Declarant’s Rights for Rarity Enclave by Tennessee Land and Lakes, LLC, from VPI Company,
LLC.

108. During the course of the negotiations Defendants James Macri, Michael Ross
Ted Doukas, said Defendants’ agents and by imputation the business entities controlled by them,
understood that unless Tennessee Land and Lakes, LLC, acquired the Declarant’s Rights for
Rarity Enclave from VPI Company, LLC, as part of the transaction, the deal would not go

forward and Tennessee Land and Lakes Would not assign the SunTrust notes to an entity

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specified by attorney John Stravato (who at the time was counsel of record for Judgment Debtors
Michael L. Ross, Tellico Lake Properties LP, and LTR Properties Inc., as well as the other
Judgment Debtors in the 2009 Federal RICO case).

109. During the course of the referenced negotiations it was the goal and intention of
Defendants James Macri, Michael Ross Ted Doukas, and entities controlled by them to facilitate
and enter into a multi-party agreement in the fall of 2011 to divide among themselves the assets
of the Judgment Debtors in the developments known as Rarity Bay and Rarity Enclave, as well
as other assets in derogation of Mr. Stooksbury’s pending claims in the United States District
Court and liens lis pendens

110. The multi-party deal negotiated and reached between Defendants James Macri,
Michael Ross Ted Doukas and the entities controlled by them included the following
components (1) allowing Tennessee Land and Lakes, LLC, to obtain the Declarant’s Rights for
Rarity Enclave from VPI Company, LLC, fraudulently, outside of VPI Company, LLC’s pending
bankruptcy action, without notice to the United States Bankruptcy Court for the Eastem District
of Tennessee in violation of federal law; (2) withholding the recording of the transfer of said
Declarant’s Rights from VPI Company, LLC, to Tennessee Land and Lakes, LLC, until just after
VPI Company, LLC’s bankruptcy action was dismissed; (3) enabling Tennessee Land and Lakes,
LLC, to close on the purchase of the First Bank notes encumbering Rarity Enclave and then to
make a credit bid on the property at foreclosure with the assurance that Tennessee Land and
Lakes, LLC, had already secured ownership and control of the Declarant’s Rights for Rarity
Enclave; (4) having Tennessee Land and Lakes, LLC, obtain and then assign the SunTrust notes

encumbering property at Rarity Bay to an entity designated by Defendant Michael Ross’

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attomey, John Stravato, for the same amount Tennessee Land and Lakes, LLC, had agreed to pay
SunTrust for the notes (approximately $l,560,000); (5) upon Tennessee Land and Lakes, LLC,
being paid back for the SunTrust notes by a business entity designated by Mr. Ross’ attomey, the
designated entity would then enter into friendly agreed judgments against Defendants Tellico
Lake Properties LP, LTR Properties Inc., and Michael L. Ross in state court in Knox County for
well more than five times the amount being paid for the SunTrust notes; (6) near the same time,
Tennessee Land and Lakes, LLC, would enter into a friendly agreed judgment against VPI
Company, LLC, and Michael Ross in state court for the deficiency on the First Bank note and
then assign that Judgment to a business entity designated by Mr. Ross’ attomey; and (7) the
friendly judgments in favor of the business entity designated by Mr. Ross’ attorney would then
be used as a pretext for transferring all or substantially all of the assets of Tellico Lake
Properties LP, LTR Properties Inc., and Michael L. Ross, (as well as related entities) to entities
as specified and agreed by Mr. Ross and Mr. Doukas

lll. In accordance with an agreement between Mr. Ross and Mr. Doukas, the entity
Mr. Ross’ attorney (Mr. Stravato) specified when the initial components of the deal were being
finalized in late September of 201 l, was an entity called Athena of SC, LLC, an entity owned by
Mr. Doukas The address Mr. Stravato listed as the address for Athena of SC, LLC, on the
doctnnents was Mr. Stravato’s office address (the same address listed on Mr. Stravato’s
application to appear pro hac vice for Defendants Michael Ross and LTR Properties Inc. and
others See Exhibit 3, supra); and Mr. Doukas ultimately signed the documents on behalf of

Athena of SC, LLC.

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112. The Defendants referenced in paragraphs 109 and 110 committed the acts
necessary to accomplish the steps referenced in paragraph 110 through multiple communications
between them and their agents while using the phones the intemet, wire, and/or mail during a
time period which included, but is not limited to, August 26, 2011, and March 20, 2012, as well
as acts constituting bankruptcy fraud; each such communication and act constitutes a separate
predicate act in furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy in
violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §§1961, et seq.,
(RICO).

113. The initial steps taken in furtherance of the multi-party agreement referenced
above were taken in August and September of 201 l.

114. For example, on August 26, 2011 - just two days after the entry of the discovery
order referenced above in paragraph 79 finding that Defendants Michael Ross LTR Properties
LLC, and others had engaged in discovery abuse in the Blount County Chancery Court case, Mr.
Ross Mr. Macri, and Mr. Doukas exchanged e-mails with the Subject Line “Rarity Bay” for the
purpose of discussing the initial steps in the Illegal Rarity Conveyance Enterprise and
Conspiracy.

115. Specifically, at 9:24 a.m. on August 26, 2011, Mr. Ross e-mailed Mr. Macri the
following message, reflecting how Mr. Ross intended to set up a new entity that would enable
him to continue to participate in the operation of the Rarity Bay development after the SunTrust
notes had been purchased at a steep discount by Tennessee Land and Lakes, LLC, and then
assigned to the new company in which Mr. Ross would be an integral part:

Jim, As I understand the deal, Your company will purchase the SunTrust
Notes @ Rarity Bay which are owned by Tellico Lake Properties L.P. and

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LTR Properties Inc. and the collateral that is encumbered by those notes
will be placed into a New Company @ cost and I or my assignee will own
30% of the new company. We will determine a budget iri advance for
Revenues and Expenses from sale of the collateral and use this as a basis to
pay out the profits on each sale of the property as they occur; e.g. if total
sales revenue is projected @ $4,000,000 and expenses are $3,000,000, there
is $1,000,000 profits -- 25% of sales revenue is profit. (e.g.) A $100,000.00
sales would result in $25,000 profit of which 30% ($7,500.) would pay out
to me each closing). Also any deficiency that is realized from the SunTrust
notes will be transferred to me or my assignee upon request. If this
accurately represents our agreement please acknowledge by return e-mail.
Regards.

A true copy of this e-mail is hereto attached as Exhibit 6.

116. Shortly thereafter, the exact same e-mail was sent to Mr. Macri only a few hours
later, on August 26, 2011, at 1:40 p.m., but this time signed by Ted Doukas A true copy of this
e-mail is hereto attached as Exhibit 7 .

117. During this same general time period, in furtherance of the Illegal Rarity
Conveyance Enterprise and Conspiracy, James Macri, on behalf of Tennessee Land and Lakes,
LLC, was negotiating for the purchase of the two notes referenced above from SunTrust at a
significant discount from the face value of the notes; subject to closing, Tennessee Land and
Lakes, LLC, negotiated to buy both of the referenced notes for the total amount of $1,560,000.

118. During the same timeframe, Jim Macri, on behalf of Tennessee Land and Lakes,
LLC, was also negotiating with First Bank for the acquisition of its note encumbering Rarity
Enclave.

119. On September 8, 2010, Tennessee Land and Lakes, LLC, by James F. Macri,
Chief Manager, wrote the letter to First Bank referenced in paragraph 96 above, enclosing an
offer to purchase the subject First Bank Promissory Note and affirmatively stating that

Tennessee Land and Lakes’ acquisition of the note and potential acquisition of the property at

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foreclose would be subject to the developers’ rights / covenants conditions and restrictions for
Rarity Enclave which (1) “require lot purchasers to buy a ‘social membership”’; (2) require
Tennessee Land and Lakes to “imrnediately begin paying association dues” on all lots; and (3)
give Mr. Ross “virtual veto rights over any construction in Rarity Enclave by virtue of his total
control of the Architectural Control Committee.” In that same letter, Mr. Macri states that
Tennessee Land and Lakes, LLC, believes “these rights survive any foreclosure and unless
monetary concessions of at least $3 00,000 are made to Ross only litigation can resolve this issue
which takes time and money.” Exhibit 5, supra.

120. Based upon information and belief, c Tennessee Land and Lakes ultimately
negotiated a purchase price of approximately $1,250,000 for the First Bank note, subject to
closing.

121. During the same time period that Tennessee Land and Lakes, LLC, was
negotiating with SunTrust and First Bank for the potential acquisition of the referenced notes
Tennessee Land and Lakes, LLC (through James Macri) was negotiating with the other
participants in the initial steps of the Illegal Rarity Conveyance Enterprise and Conspiracy for
the transfer of the Declarant’s Rights at Rarity Enclave by VPI Company, LLC, to Tennessee
Land and Lakes, LLC, outside the purview of the United States Bankruptcy Court in the pending
Chapter 11 bankruptcy proceeding involving VPI Company, LLC.

122. To confirm the multi-party agreement generally referenced above, on September
20, 2011, Tennessee Land and Lakes’ attorney and agent forwarded a “Multi-Party Agreement”
to Mr. Ross’ attomey, John Stravato, which reflected that Tennessee Land and Lakes had agreed

to transfer the SunTrust notes at Rarity Bay to an as yet undesignated buyer (to be designated by

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Mr. Ross’ attomey) in exchange for: (l) the undesignated buyer paying Tennessee Land and
Lakes the same amount Tennessee Land and Lakes was paying for the SunTrust note; and (2)
Mr. Ross executing a “Binding Cooperation Agreement” with Tennessee Land and Lakes
regarding Rarity Enclave in Monroe County, Tennessee, which required Mr. Ross to convey the
Declarant’s Rights and Rarity Enclave to Tennessee Land and Lakes, That same agreement
provided for a closing date in November of 2011, A true copy of this proposed “Multi-Party
Agreement” is hereto attached as Exhibit 8.

123. That same afternoon, irrirnediately after sending the drafi agreement referenced in
paragraph 122, Tennessee Land and Lakes, LLC, through its attomey, sent an e-mail to Mr.
Ross’ attorney enclosing a proposed “Cooperation Agreement,” which was “an exhibit to the
(multi-party) agreemen ” and which required VPI to transfer the Developer’s Rights at Rarity
Enclave to Tennessee Land and Lakes, LLC. The e-mail emphasized that “everything in this
deal is contingent upon this Cooperation Agreement vw'th Mike Ross.” A true copy of this e-mail
and attachment is hereto attached as Exhibit 9.

124. The terms of the Cooperation Agreement specifically recite that upon Tennessee
Land and Lakes’ acquisition of the First Bank note, “Ross shall cause VPI Company, LLC, to,
and VPI does hereby transfer and assign unto (Tennessee Land and Lakes, LLC) all of the
developer rights and all of VPl’s rights as declarant or developer under any and all restrictive
covenants affecting (Rarity) Enclave . . . and does hereby irrevocably appoint (Tennessee Land
and Lakes) as declarant under the “covenants, conditions restrictions and easements for (Rarity
Enclave). In exchange, Tennessee Land and Lakes agreed “not to seek collection of the (First

Bank) note from Ross and transfer the guaranty to Ross or his assigns upon his reques .”

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125. The Cooperation Agreement also expressly provided that “upon the transfer of the
(First Bank) note to (Tennessee Land and Lakes, LLC), Ross shall cause VPI to file the
appropriate documents and pursue the dismissal of its bankruptcy.”

126. The documents also reflect that as part of and in conjunction with transactions
referenced in paragraphs 130, 131, and 132 above, upon Tennessee Land and Lakes receiving the
declarant rights to Rarity Enclave through its purchase of the First Bank note, Mr. Ross’
designee (which turned out to be Mr. Doukas, through Athena of SC, LLC, an entity controlled
by him) Would obtain both (a) the SunTrust notes encumbering property at Rarity Bay and (b)
control over Mr. Ross’ guarantee of the First Bank note and the resulting deficiency on the First
Bank note.

127. As has been generally referenced above, the purpose of these components was to
enable and to facilitate Mr. Ross’ designee, Mr. Doukas, and Mr. Ross through their respective
entities to enter into friendly judgments in state court immediately following the closing on the
referenced bank notes (which was ultimately accomplished, with the assistance and participation
of Mr. Macri’s attorney and agent).

128. In the late morning of September 21, 2011, James Macri sent Ted Doukas an e-
mail stating: “Ted, SunTrust is requiring I sign the agreement and wire the money before 2pm
today. Let’s get this done now . . . . I need you to wire the $230,000 to (my attorney) now.” A
true copy of this e-mail is hereto attached as Exhibit 10.

129. When the “final version” of the Multi-Party Agreement was sent to Mr. Ross’

attomey, Mr. Stravato, by Tennessee Land and Lakes’ counsel by e-mail on September 21, 2011,

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at 1123 p.m., the name of the “buyer” who was purportedly purchasing the SunTrust notes from
Tennessee Land and Lakes, LLC, still had yet to be specified.

130. Later that same day, at 2:29 p.m., Mr. Ross’ attomey, Mr. Stravato, sent an e-mail
to counsel for Tennessee Land and Lakes stating that the name and address of the buyer should
be: “Athena of SC, LLC, 240 West Old Country Road, Hicksville, New York 11801.”

131. During that same time period, Mr. Stravato was continuing to represent Defendant
Michael L. Ross and the other Judgment Debtors in the 2009 Federal RICO case, as well as in
the Blount County Chancery Court case referenced herein,

132. As a result of these exchanges also in the afternoon on September 21, 2011,
counsel for Tennessee Land and Lakes sent an e-mail to the attorney for First Bank stating “It
looks like this deal is done. When do you want the money and transfer the documents (sic).” A
true copy of this e-mail is hereto attached as Exhibit 11.

133. On September 22, 2011, Mr. Ross e-mailed Mr. Macri’s attorney a signed
“Cooperation Agreement” between VPI Company, LLC, and Tennessee Land and Lakes, which
included (as an exhibit) a fillIy executed and notarized “Assignment of Declarant Rights.” This
Assignment “unconditionally and irrevocably” transferred the Declarant’s Rights for Rarity
Enclave from VPI Company, LLC, to Tennessee Land and Lakes LLC. Said Assignment is
fully executed and dated September 22, 2011, A true copy of the fully executed Cooperation
Agreement, with the Assignment of the Declarant Rights executed September 22, 2011, is hereto
attached as Exhibit 12.

134. In accordance with the intentions of the parties and in furtherance of the goals of

the Illegal Rarity Conveyance Enterprise and Conspiracy, the e-mail referenced in paragraph 133

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included a statement by Mr. Ross specifically instructing Mr. Macri’s attorney to hold the
Cooperation Agreement “in escrow until the agreement with TN Land Lakes, LLC and Athena
have been completed.” Mr. Ross then asked that he be sent “an executed copy of the Cooperation
Agreement after TN Land and Lakes, LLC has si gned,” which occurred later that afternoon.

135. Less than an hour after Mr. Ross had forwarded an executed copy of the
Cooperation Agreement and the Assignment of Declarant Rights referenced above, both Ted
Doukas and James Macri had signed the corresponding agreement between Athena of SC, LLC,
and Tennessee Land and Lakes for the purchase of the SunTrust notes Said fully executed
Agreement was faxed to Mr. Macri and/or Mr. Shanks on September 22, 2011, at approximately
2:27 p.m. A true copy of the signed agreement is hereto attached as Exhibit 13.

136. Shortly thereafter, Mr. Ross’ attomey, John Stravato, wired $230,000 to Mr.
Macri’s attomeys’ trust account. A true copy of the bank’s “Incoming Wire Transmission
Notification” is hereto attached as Exhibit 14.

137. Subsequently, also on September 22, 2011, Tennessee Land and Lakes, LLC and
SunTrust Bank executed an agreement allowing Tennessee Land and Lakes to acquire the
referenced SunTrust notes for $l,560,000. Said agreement provided for a closing date the
following month.

138. Later on September 22, 2011, Defendant Macri wrote Defendant Mike Ross an e-
mail stating that Greg Shanks (counsel for Mr. Macri and Tennessee Land and Lakes) needed the
original Cooperation Agreement “from you and me.” The original Agreement was thereafter
forwarded to Greg Shanks. A true copy of the referenced e-mail and the fully signed

Cooperation agreement is hereto attached as Exhibit 15.

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139. Also on September 23, 201 1, at 2:34 p.m., Defendant Michael Ross sent an e-mail
to VPI Company, LLC’s bankruptcy counsel Lynn Tarpy, with a copy to Greg Shanks and with a
subject line designated as “VPI Bankruptcy,” stating: “Lynn, it is now okay to dismiss or
withdraw the VPI bankruptcy.” A true copy of said e-mail is hereto attached as Exhibit 16.

140. However, the pending bankruptcy action in the United States District Court for
the Eastem District of Tennessee for VPI Company, LLC, was not dismissed until an order was
entered on November 14, 2011, See In re: VPI Company, LLC, no. 3:10-bk-34099 [Doc. 76].

141. At no time did VPI Company, LLC list the Declarant’s Rights at Rarity Enclave,
which were owned by VPI Company, LLC, as an asset iri any of its disclosures or reports in the
Chapter 11 bankruptcy proceeding which was ongoing at the time of the transactions referenced
above. When VPI filed its motion to dismiss on October 5, 2011, VPI simply stated: “the only
asset of the estate was a development in Monroe County, Tennessee, for which the secured
creditor has received relief from the stay and foreclosed. There was no equity.” [Doc. 73].

142. At no time did VPI Company, LLC, Defendant Michael Ross Defendant
Tennessee Land and Lakes, LLC, Defendant James Macri, Defendant Athena of SC, LLC, or
Defendant Ted Doukas disclose the transactions in which they were involved (referenced above)
to the United States Bankruptcy Court for the Eastem District of Tennessee.

143. To the contrary, the parties to the multi-party agreement described above took
affirmative steps to conceal from the United States Bankruptcy Court the fraudulent conveyance
of the Declarant’s Rights at Rarity Enclave to Tennessee Land and Lakes

144. Specifically, in addition to the failure to disclose the Declarant Rights at Rarity

Enclave as an asset in the Bankruptcy action and the failure to disclose the conveyance of those

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Declarant Rights on September 22, 2011, Defendant Michael Ross attempted to create the false
impression that the Assignment of Declarant Rights for Rarity Enclave had not been executed
until after the dismissal of the bankruptcy case by signing a second, duplicative assignment on
October 28, 2011, the day after a hearing was held for the voluntary dismissal of the Chapter 11
bankruptcy action of VPI Company, LLC. Further, said duplicate Assignment of Declarant
Rights was held and not recorded until November 17, 2011, three days after an Order was
entered dismissing the VPI Company, LLC’s Chapter 11 bankruptcy action. A true copy of the
referenced duplicate Cooperation Agreement and Assignment of Declarant Rights signed by
Michael Ross on behalf of VPI Company, LLC, is hereto attached as Exhibit 17.
C. The Next Steps in the Multi-Party Agreement: Closing on the Bank

Notes and Entering Friendly Agreed Judgments Between Doukas and

Ross Entities.

145. As has been noted, at the very same time the multi-party agreement was being
negotiated and executed between the referenced parties the Judgment Debtors were being
sanctioned for various discovery violations In fact, within four days of the agreement’s
execution by Mr. Macri, Mr. Ross and Mr. Doukas and on behalf of their respective entities Mr.
Stravato personally appeared before Judge Guyton for a hearing on September 26, 2011,
concerning Mr. Stooksbury’s first motion for a default judgment

146. In the days and weeks following the filing of Judge Guyton’s opinion on
September 28, 2011, recommending entry of a default judgment because of the Judgment
Debtors’ willfiil discovery abuse (Doc. 185 in the 2009 Federal RICO case), the Defendants

referenced above continued to commit acts in furtherance of the Illegal Rarity Conveyance

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Enterprise and Conspiracy and, in fact, expanded the scope of their scheme to involve other
persons and entities in their fraudulent effort to render the Judgment Debtors judgment proof.

147. On October 14, 2011, Mr. Doukas changed the principal office address of Raposo
Realty, LLC, fi‘om Mr. Ross’ offices at 1010 William Blount Drive in Maryville, TN, to “19202
Cloister Lake Lane, Boca Raton, FL 33498”; the registered agent of the entity was also changed
to be United Corporate Services, Inc., in Nashville.

148. In accordance with the multi-party agreement referenced above and the
agreements executed between the parties to said agreement on September 22, 2011, Defendants
Tennessee Land and Lakes and James Macri subsequently closed on the acquisition of the First
Bank note encumbering Rarity Enclave.

149. The foreclosure previously scheduled by First Bank was then allowed to proceed,
James Macri was the only bidder at the foreclosure, and Mr. Macri bought the property
comprising the Rarity Enclave during the foreclosure for $500,000 on behalf of Tennessee Land
and Lakes.

150. Thereafter, with the knowledge and consent of Mr. Ross and VPI Company, LLC,
agents for Mr. Macri, Mr. Ross Tennessee Land and Lakes, and VPI Company, LLC, prepared
the paperwork to enable Tennessee Land and Lakes to be substituted for First Bank in the Knox
County Chancery action referenced above in order to facilitate the entry of an agreed judgment
between Tennessee Land and Lakes, LLC, against VPI and Mr. Ross

151. On November 21, 2011, an Agreed Judgment was entered in favor of Tennessee
Land and Lakes, LLC against VPI and Mr. Ross for $3,940,514.95, plus interest of $45,342.91.

Mr. Ross agreed to this Judgment for the purpose of facilitating the fraudulent conveyances

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described herein, as he understood that the resulting deficiency judgment was going to be
assigned to his designee, Athena of SC, LLC, in accordance with the multi-party agreement
previously executed between Mr. Ross Mr. Macri, and Mr. Doukas, A true copy of this agreed
judgment is hereto attached as Exhibit 18.

152. Subsequently, in accordance with the understanding and terms of the parties to the
referenced multi-party agreement and after Athena of SC, LLC, had paid Tennessee Land and
Lakes, LLC, for the SunTrust notes encumbering Rarity Bay, the judgment referenced in
paragraph 160 was assigned to Athena of SC, LLC, by Tennessee Land and Lakes, LLC, on
November 28, 2011. A true copy of the assignment is hereto attached as Exhibit 19.

153. Mr. Ross agreed to pay Mr. Macri’s legal bill for the “Rarity Enclave” suit. See
the e-mail exchange between Mr. Ross and Mr. Macri, hereto attached as Exhibit 20.

154. On November 28, 2011, in accordance with the referenced multi-party agreement
and in furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy, Athena of SC,
LLC, Mr. Ross’ attomey’s designee, acquired the SunTrust notes referenced above from
Tennessee Land and Lakes, LLC, by assignment In doing so, Athena paid Tennessee Land and
Lakes the same amount Tennessee Land and Lakes had paid SunTrust for those notes other than
several days’ worth of interest during the period of time between Tennessee Land and Lakes’
acquisition of the notes from SunTrust and Athena’s acquisition of the notes from Tennessee
Land and Lakes, A true copy of the fully executed Note Sale and Assignment Agreement is
hereto attached as Exhibit 21; a true copy of documents and e-mails pertaining to the closing of

this component of the deal is hereto attached as collective Exhibit 22.

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155. Funds to pay the balance due to Tennessee Land and Lakes, LLC, were
apparently paid by two wire transfers - one evidently sent by Ted Doukas through an entity of
his called “Efastos Corp.,” to “Orchard Investment, Inc.,” an agent or member of Tennessee
Land and Lakes LLC, in the amount of $580,000, and another sent by Mr. Ross’ attomey, Mr.
Stravato, apparently to the same entity, in the amount of $701,195.48. Copies of wire transfer
request forms reflecting these amounts are hereto attached as collective Exhibit 23.

156. Based upon information and belief, a significant pait, if not all, of the
consideration given for the assignments of the SunTrust notes by Tennessee Land and Lakes to
Mr. Ross’ designee, Athena of SC, LLC, was either provided by and/or was secured by Mr. Ross
and/or entities controlled by Mr. Ross. To the extent any consideration for Athena’s acquisition
of the SunTrust notes was provided directly or indirectly by an entity controlled by Mr. Doukas,
such consideration was provided only because Mr. Ross and/or entities controlled by Mr. Ross
had either advanced those funds or had secured those funds as part of the Illegal Rarity
Conveyance Enterprise and Conspiracy described herein,

157. Further, and regardless of the immediate or most direct source of some or all of
the funds which were used to pay for Athena’s acquisition of the SunTrust notes from Tennessee
Land and Lakes LLC, all of said funds were paid pursuant to the multi-party agreement
referenced above, a key component of which was the agreement between Mr. Doukas and Mr.
Ross that they would: (a) work together going forward to operate and profit from the Judgment
Debtors’ assets at Rarity Bay and elsewhere; and (b) transfer substantially all of the Judgment
Debtors’ assets at Rarity Bay and elsewhere to entities controlled by Mr. Doukas and/or other

entities controlled by Mr. Ross in order to hinder, delay or defraud Mr. Stooksbury.

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158. Mr. Doukas’ and Mr. Ross’ agreement as referenced in paragraph 164 is reflected
in said parties’ (and their entities’) course of dealing and communications after Tennessee Land
and Lakes, LLC, transferred the SunTrust notes to Athena of SC, LLC, in exchange for the
Declarant’s Rights at Rarity Enclave.

159. In late November of 2011, just after Athena paid Tennessee Land and Lakes for
the SunTrust notes in accordance with the multi-party agreement referenced above, and in
furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy overall, agents for
Tennessee Land and Lakes, James Macri, Tellico Lake Properties L.P., LTR Properties Inc.,
Michael Ross and Athena of SC, LLC, 'and Ted Doukas prepared the paperwork to allow
friendly agreed judgments to be entered between Athena, Tellico Lake Properties LP, LTR
Properties Inc., and Michael L. Ross

160. Accordingly, just after the date of the assignment of the SunTrust - LTR note by
Tennessee Land and Lakes, LLC, to Athena of SC, LLC, an agreed judgment was entered in
Knox County Circuit Court on November 30, 2011, in favor of` Athena of SC, LLC, against LTR
Properties Inc. and Michael L. Ross based upon a “Complaint On Promissory Note And
Guaranties” filed the same day, in a case styled as Athena of SC, LLC, Plaintiff v. LTR
Properties Inc. and Michael L. Ross Defendants Knox County Circuit Court No. 3-623-11; the
amount of the judgment for the alleged deficiency on the note was $1,100,604.82, plus interest
and attorneys’ fees. A true copy of the Complaint and Agreed Judgment is hereto attached as
collective Exhibit 24.

161. Similarly, on November 30, 2011, Athena of SC, LLC, entered into a second

Agreed Judgment with Mr. Ross _ this one in favor of Athena against Tellico Lake Properties

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L.P. and Mr. Ross based on a Complaint filed the same day in Knox County Circuit Court as
docket number 1-624-11. The amount of the Agreed Judgment was $6,627,157.31, plus interest
and attomeys’ fees A true copy of the Complaint and Agreed Judgment is hereto attached as
collective Exhibit 25.

162. Accordingly, in exchange for transferring the Declarant Rights at Rarity Enclave
to Tennessee Land and Lakes, LLC, outside of the bankruptcy proceeding and payment of
approximately $1,560,000, Mr. Ross through his designee Athena of SC, LLC, and its owner,
Ted Doukas, secured the entry and assignment of friendly agreed judgments against Mr. Ross
and three of his entities - LTR Properties Inc., Tellico Lake Properties LP, and VPI Company,
LLC (as well as himself), with a total combined face amount of approximately eleven million
dollars more than seven times the consideration paid for the notes by multiple wire transfers
from Mr. Ross’ attorney’s trust account and Mr. Doukas’ entity, Efastos Corp.

163. Additionally, it is noteworthy that prior to the multi-party agreement being
consummated on September 22, 2011, in which the Declarant’s Rights at Rarity Enclave were
exchanged for the bank notes and agreed judgments to enable and facilitate the various
fraudulent conveyances and agreements that were executed by the Defendants during the months
that followed, the parties to the multi-party agreement, themselves or through agents of theirs
had been previously advised by VPI Company, LLC’s bankruptcy counsel on September 16,
2011, that the United States Bankruptcy Court’s permission would have to be sought and
obtained prior to such a deal being done. See the e-mail exchanges on September 16, 2011,

between counsel for VPI Company, LLC (through its Chief Manager Michael Ross), and counsel

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for James Macri and Tennessee Land and Lakes, LLC, a true copy of` which is hereto attached as
collective Exhibit 26.

164. Indeed, as referenced above, the parties not only went forward with the deal on
September 22, 2011, without obtaining permission from the Court, the parties endeavored to
conceal their transaction until alter the pending bankruptcy proceedings had been dismissed.

165. Plaintiff specifically states that the parties’ consummation of the multi-party
agreement without the consent of the United States Bankruptcy Court and without disclosure to
the Court was intentional and violated 18 U.S.C. § 152, as well as 18 U.S.C. §§ 1341 and 1343.

166. Accordingly, each individual communication and act committed during the course
of the multi-party agreement, including but not limited to those specifically referenced herein,
constitutes a separate predicate act in violation of the Racketeer Influenced and Corrupt
Organizations Act, 18 U.S.C. §§1961, et seq.

167. Further, because the multi-party agreement formed the foundation which enabled
and facilitated the subsequent fraudulent conveyances and agreements by the Defendants which
were made as part of the Illegal Rarity Conveyance Enterprise and Conspiracy between
September of 2011 and the present, many of which are specifically outlined below, all of said
Defendants’ transactions and agreements are inextricably interrelated and flow from the
execution of the fraudulent multi-party agreement In this manner, each fraudulent conveyance
and agreement executed by Defendants during and after the execution of the multi-party
agreement constitutes a violation of 18 U.S.C. §§ 152, 1341, and 1343, as well as 18 U.S.C. §§

1962(¢) and (d).

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D. Fraudulent Conveyances Using As Pretexts the Agreed Judgments
Arising Out of the Multi-Party Agreement

1. Fraudulent Conveyances by Rarity Management Company, LLC

168. After the Declarant’s Rights for Rarity Enclave had been exchanged for the
discounted SunTrust Notes and the various judgments referenced above in the weeks that
followed the filing of Judge Guyton’s Report and Recommendation on September 28, 2011,
recommending to the District Court that a default judgment be entered against the Judgment
Debtors for willful discovery abuse (Doc. 185), Defendants Micheal Ross Ted Doukas, Rebecca
Jordan, Patricia Ross Evelyn Ross Giselle Doukas, and other Defendants herein proceeded to
engage in fraudulent conduct, to execute fraudulent agreements and to attempt to use the entry
of the agreed judgments referenced above as a pretext for executing a series of fraudulent
conveyances and transfers over the next several months in an effort to hinder, delay and defraud
Mr. Stooksbury.

169. All of the conduct generally referenced in paragraph 168 above by the Defendants
was committed in accordance with the goals and intentions of the parties to the referenced multi-
party agreement, and in furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy,

170. For example, in What was a thinly veiled effort to use the Courts and the
fraudulent agreed judgments as an artifice, Defendants Michael Ross Rebecca Jordan, and Ted
Doukas through entities controlled by them, transferred numerous parcels of property at Rarity
Bay worth millions of dollars including the Rarity Bay golf course, the Rarity Bay club, the
Rarity Bay club house, the Rarity Bay boat docks and numerous other lots and parcels to

entities controlled by Ted Doukas and/or Michael Ross

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171. When the fraudulent agreed judgments were entered and/or assigned to Athena of
SC, LLC, on November 28, 2011, as part of the multi-party agreement, Rarity Management
Company, LLC, an entity 100% owned by Judgment Debtor Rebecca Jordan, owned the Rarity
Bay golf course, the Rarity Bay club house, the Rarity Bay boat docks numerous other lots and
parcels at Rarity Bay, and several properties outside of Rarity Bay.

172. Because the fraudulent agreed judgments obtained as a result of the multi-party
agreement were entered against entities other than Rarity Management Company, LLC -- Tellico
Lake Properties LP, LTR Properties VPI Company, LLC, and Michael Ross individually -
some of the next steps in the Illegal Rarity Conveyance Enterprise and Conspiracy involved
transferring the property referenced in paragraph 171 from Rarity Management Company, LLC,
to entities that were defendants in the fraudulent agreed judgments including Tellico Lake
Properties LP, and Michael Ross

173. Accordingly, on or about December 19, 2011, approximately three weeks after the
entry of the agreed judgments referenced above, Rarity Management Company, LLC,
fraudulently conveyed the following property to Tellico Lake Properties LP, for no
consideration:

a. The Rarity Bay golf course, the Rarity Bay club house, and the Rarity Bay boat
docks ~ true copies of the deeds used to make these fraudulent conveyances are hereto attached
as collective Exhibit 27;

b. Numerous other lots and parcels at Rarity Bay -- true copies of the deeds used to

make these fraudulent conveyances are hereto attached as collective Exhibit 28; and

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c. Certain other parcels owned by Rarity Management Company, LLC - true copies
of the deeds used to make these fraudulent conveyances are hereto attached as collective Exhibit
29.

174. At or near the same time, for the same fraudulent purposes in connection with the
fraudulent agreed judgments and as part of the Illegal Rarity Conveyance Enterprise and
Conspiracy, Rarity Management Company, LLC, transferred numerous parcels of property to
Michael Ross for no consideration; true copies of the deeds used to make these fraudulent
conveyances are hereto attached as collective Exhibit 30.

175. Additionally, at or near the same time, as part of the Illegal Rarity Conveyance
Enterprise and Conspiracy, and for the purpose of hindering, delaying or defrauding Mr.
Stooksbury, Rarity Management Company, LLC, fraudulently conveyed numerous parcels to
M&D Ross Rentals without consideration, for the use and personal benefit of Michael Ross
Evelyn Ross and Patricia Ross and with said Defendants’ knowledge and consent; true copies of
the deeds used to make these fraudulent conveyances are hereto attached as collective Exhibit
31.

176. Additionally, at or near the same time, as part of the Illegal Rarity Conveyance
Enterprise and Conspiracy, and for the purpose of hindering, delaying or defrauding Mr.
Stooksbury, Rarity Management Company, LLC, fraudulently conveyed property to Likos of
Tennessee, Inc., an entity controlled by Defendants Giselle Doukas and Ted Doukas, without
legitimate or sufficient consideration, for the use and personal benefit of said Defendants and
with said Defendants’ knowledge and consent. True copies of the deeds used to make these

fraudulent conveyances are hereto attached as collective Exhibit 32.

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2. Fraudulent Couveyances by other Defendants

177. ln addition to the property transfers by Rarity Management Company, LLC,
referenced above, following the execution of the multi-party agreement, and the recommendation
by Judge Guyton of a default judgment against the Judgment Debtors other Defendants herein
fraudulently conveyed, transferred, or encumbered property during this same general time
period, including but not limited to Defendants HPD Properties LLC, Michael Ross, Evelyn
Ross and other Defendants as noted below.

178. Mr. Stooksbury states that the purpose of the transactions generally referenced in
paragraph 177 was to hinder, delay, or defraud Mr. Stooksbury as part of` the Illegal Rarity
Conveyance Enterprise and Conspiracy, either by: (a) conveying such property and assets into
the names of associations or entities other the Judgment Debtors in the 2009 Federal RICO case;
or (b) conveying such property and assets to Michael Ross and/or the entities named as
defendants in the fraudulent agreed judgments entered in late November of 2011, such that the
property and assets could then be transferred to or encumbered by a Doukas entity for the mutual
personal benefit of Defendants Ted Doukas, Giselle Doukas, Michael Ross Evelyn Ross
Patricia Ross and Rebecca Jordan (and entities controlled by them).

179. One example of this type of transaction is the set of conveyances by Defendant
HDP Properties LLC, an entity controlled at all relevant times by Michael Ross which are
reflected in the deeds hereto attached as collective Exhibit 33.

180. Mr. Stooksbury affirmatively states that HDP Properties LLC, a Wyoming entity

set up by Mr. Ross to control and shield certain properties in Tennessee, was a sham entity that

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was the instrumentality and alter ego of Mr. Ross such that its business structure should be
disregarded.

181. As these deeds reflect, Mr. Ross had previously conveyed properties into HDP
Properties Inc., and then once the multi-party agreement Was signed, the referenced
recommendation of a default judgment had been made, and the various related conduct was
occurring as part of the Illegal Rarity Conveyance Enterprise and Conspiracy, Mr. Ross
fraudulently conveyed the properties referenced in paragraph 179 for no consideration and for
the purpose of hindering, delaying or defrauding Mr. Stooksbury.

3. The Fraudulent Forbearance Agreement Between Mike Ross and Ted Doukas

182. On December 15, 2011, shortly after the exchange of fraudulent consideration as
part of the multi-party agreement, the entry of the fraudulent agreed judgments and many of the
other events referenced above and in furtherance of the same enterprise and conspiracy,
Defendant Michael Ross and Ted Doukas, through Athena of SC, LLC, entered into a
“Forbearance Agreement,” purportedly based on the friendly agreed judgments referenced
above. A true copy of said Forbearance Agreement is hereto attached as Exhibit 34.

183. Based expressly on the three fraudulent agreed judgments improperly obtained in
late November of 2011 as part of the multi-party agreement, the language of the Forbearance
Agreement purports to grant Athena a security interest in certain named entities including
Tellico Lake Properties LP, and LTR Properties Inc., and also purports to assign to Athena of
SC, LLC distributions of income, profits dividends and other payments due to Michael Ross
from Rarity Management Company, LLC. (At that time, as well as all relevant times Rarity

Management Company, LLC, was owned entirely by Defendant Rebecca Ross Jordan).

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184. Additionally, based on those same fraudulent agreed judgments as they relate to
Michael Ross individually, the same Forbearance Agreement purports to grant Athena of SC,
LLC, security interests in the property and all assets of numerous entities based on Michael
Ross’ ownership interest in them (in addition to the entities subject to the fraudulent agreed
judgments referenced in paragraph 183): OR Properties LLC, RM Company, Inc., RRT
Properties LLC, Tellico Communities, Inc., WFD Company, Inc., RCCA Company, Inc., PM
Properties of Tennessee, L.P., PM Properties of Tennessee, LLC, PM Properties #2 of
Tennessee, L.P., PM Properties #2 of Tennessee, LLC, PM Properties #3 of Tennessee, L.P., and
PM Properties #3 of Tennessee, LLC. Plaintiff specifically alleges that the grant of these
security interests purportedly pursuant to the friendly agreed judgments referenced above were
fraudulent, lacked any legitimate consideration, and were intended to hinder, delay and defraud
Mr. Stooksbury with regard to Mr. Stooksbury’s claims in the 2009 Federal RICO case.

185. Mr. Ross and Mr. Doukas, through Athena, entered into the Forbearance
Agreement and with the assistance of James Macri and Tennessee Land and Lakes, LLC,
through their counsel, in furtherance of the multi-party agreement, as part of the ongoing
relationship between Mr. Ross Mr. Doukas, Mr. Macri and entities controlled by them which
continued for several months after the multi-party agreement was executed (well beyond the date
of Judgment in the 2009 Federal RICO case), and in fiutherance of the Illegal Rarity Conveyance
Enterprise and Conspiracy. See, e.g., the e-mails exchanged between these parties and their
agents conceming, in part, the Forbearance Agreement and the interplay between that agreement

and the involuntary bankruptcy filed against Michael Ross by a third party in late December of

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2011, as well as other issues which reflect the parties’ ongoing relationship during that time
period; these e-mails are hereto attached as collective Exhibit 35.

186. As has been stated previously, an important component of the multi-party
agreement referenced above, as well as a central component of the Illegal Rarity Conveyance
Enterprise and Conspiracy overall, was the agreement between Mr. Ross and Mr. Doukas, their
agents their various entities and their relatives that they would work together going forward as
an association, joint venture and/or joint enterprise to operate and profit from assets at Rarity
Bay, as well as other assets by conveying substantially all of the assets controlled by the
Judgment Debtors to entities controlled by Mr. Doukas and/or Ted Doukas’ wife, Giselle
Teixeira (also known as Giselle Doukas), and/or other Defendants while allowing all of them to
benefit either directly or indirectly from operations of the assets

187. Accordingly, despite the appearance said Defendants attempted to create by
executing the various judgments and agreements during the subject time period, including the
Forbearance Agreement, Mr. Ross in fact retained the ability to control and manipulate the
various entities and assets referenced in the Forbearance Agreement after the Agreement’s
execution, as has been reflected by the conduct and dealings of the parties since the Agreement
was executed.

188. For example, in an e-mail exchange between Mr. Ross and Jim Macri on
December 20, 2011 - five days afer the Forbearance Agreement was signed between Mr. Ross
and Mr. Doukas / Athena, Mr. Ross wrote Mr. Macri and said: “Jim, I’m thinking about starting
collection efforts on the attached notes your thoughts Mike.” The notes attached were

promissory notes made payable to LTR Properties, Inc. - one of the entities specifically

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referenced in the December 15, 2011, Forbearance Agreement LTR Properties Inc. is also one
of the parties to the friendly agreed judgments referenced above. A true copy of this e-mail and
the attachment it references is hereto attached as collective Exhibit 36.

4. The Fraudulent Conveyances of the Rarity Bay Golf Course, Club House,
and Boat Docks to American Harper Corporation

189. Following the execution of the Forbearance Agreement and the transfers of the
Rarity Bay golf course, the Rarity Bay club house, the Rarity Bay boat docks and numerous
other lots and parcels at Rarity Bay and elsewhere by Rarity Management Company, LLC, to
Tellico Lake Properties LP, and others in December of 2011, as referenced above, Defendants
Michael Ross Ted Doukas, and James Macri, themselves and through their agents spent several
weeks attempting to determine the best scheme to transfer all of the referenced Rarity Bay
property to an entity ostensibly controlled by Ted Doukas and then executing various documents
in an effort to get that accomplished

190. As the Defendants’ course of dealing reflects these transfers were an integral part
of the Illegal Rarity Conveyance Enterprise and Conspiracy, as it was the intention of the
individual Defendants and their related entities from the outset for the Rarity Bay golf course, the
Rarity Bay club house, the Rarity Bay boat docks the Rarity Bay club, and numerous Rarity Bay
lots and parcels to be transferred, assigned or encumbered fraudulently by entities ostensibly
controlled by Ted Doukas for the mutual benefit of Ted Doukas, Giselle Doukas, Michael Ross
Evelyn Ross Patricia Ross and Rebecca Ross (as well as entities controlled by them).

191. On January 2, 2012, a draft deed for the golf course was circulated by counsel for
James Macri and Tennessee Land and Lakes LLC, to: Ted Doukas Mr. Doukas’ counsel Gary
Goldstein, Michael Ross and Mr. Ross’ counsel. The e-mail is entitled “Golf Course Deed to

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American Harper Corp.” and states that it “is not a quit-claim deed because I felt it was essential
that consideration be transferred between the parties.” The e-mail then references how the
consideration “will be very closely scrutinized by the Department of Revenue” and discusses
approximately how much in property taxes will be due when the deeds are recorded. Reference
is also made to 2010 property taxes being delinquent and counsel’s assumption that the overdue
taxes would be paid when the transfer was made, A true copy of the referenced e-mail is hereto
attached as Exhibit 37.

192. On January 4, 5 and 8, 2012, several e-mails were exchanged between counsel for
Mr. Macri, Michael Ross and Ted Doukas regarding what entity would operate the golf course
after the transfer of the property from Tellico Lake Properties LP, to American Harper
Corporation. Mr. Ross wrote that he had “talked to Ted” and that “rather than doing a lease, he
wants American Harper assuming the membership rights and obligations from Tellico Lake
Properties and Rarity Management Company” and then states: “I assume we will need an
agreement to accomplish this please advise.” Mr. Shanks then asks: “Is American Harper going
to just hire Rarity to run the golf course?” Mr. Ross then responds “I think it probably makes
sense for American Harper to become the operator, but I’m open for your thoughts.” Mr.
Doukas then writes: “I think this is the best way.” On January 8, 2012, Mr. Ross wrote Mr.
Shanks with a copy to Mr. Doukas, stating that “the golf course deed needs to wait on the
assumption of the membership plan agreement.” 'l`rue copies of these e-mails are hereto attached
as collective Exhibit 38.

193. Subsequently, as is reflected in e-mail exchanges between Mr. Shanks Mr. Ross

and Mr.Doukas dated January 28, 2012, and January 31, 2012, Mr. Shanks forwarded draft deeds

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for the conveyance of the Rarity Bay golf course to Mr. Ross and Mr. Doukas on January 28,
2012, but subsequently asked them not to use the deeds he had prepared because of the entry of
the default judgment against the Judgment Debtors on January 30, 2012: “Since the Stooksbury
judgment has been recorded, I think that enormously complicates Ted buying the golf course and
the transaction needs to be re-thought. While I cannot tell you want to do, I do not wish for you
to use the deed I prepared given the new set of circumstances I have also told Ted and am
copying him with this e-mail.” True copies of these e-mails are hereto attached as collective
Exhibit 39.

194. On March 20, 2012, after the jury trial and the entry of judgment against
Judgment Debtors (including Tellico Lake Properties LP, and Michael Ross), Tellico Lake
Properties LP, through Michael Ross recorded “Quitclaim Deeds” transferring the Rarity Bay
golf course, the Rarity Bay club house, and the Rarity Bay boat docks to American Harper
Corporation, an entity owned by Ted Doukas that is a related entity to Athena of SC, LLC,
another Doukas entity, The deeds state that they were “prepared by: Tellico Lake Properties
LP,” and state that the consideration exchanged for the conveyances was “-0-.” True copies of
those deeds are hereto attached as collective Exhibit 40.

195. The deeds referenced in paragraph 201 conveyed 47 tracts of real property
comprising approximately 251.411 acres with property tax values of $l 1,123,100 and are the
same _or substantially the same as the deeds conveyed by Rarity Management Company, LLC, to
Tellico Lake Properties LP, on December 19, 2011, for no consideration, which are referenced
in paragraph 180. These tracts include the entire Rarity Bay golf course and clubhouse, three

tracts of real property, the boat docks and several residential lots At the time of this

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conveyance, these tracts were subject to the Plaintiffs state court lien lis pendens as Well as the
recorded Judgment Liens of this Court based on the judgments entered in the 2009 Federal RICO
Case.

196. The conveyances referenced in paragraphs 201 and 202 themselves constitute
fraudulent conveyances because they were made in an effort to hinder, delay and defraud Mr.
Stooksbury and Mr. Stooksbury’s claims in the 2009 Federal RICO case, and also were made as
part of the scheme that was the subject of the multi-party agreement referenced above, as well as
the Illegal Rarity Conveyance Enterprise and Conspiracy.

5. The Fraudulent Conveyance of Assets of Tellico Lake Properties LP
Pursuant to the March 20, 2012, “Agreement”

197. Also on March 20, 2012, an agreement was signed between Michael Ross and
Ted Doukas purporting to transfer “all of the real and personal property” of Tellico Lake
Properties LP, to American Harper Corporation, “a Nevada Corporation.” The agreement:
specifically references the agreed judgment entered November 28, 2011, against Tellico Lake
Properties LP, in favor of Athena of SC, LLC; states that American Harper will “assume the
existing obligation and liability of Tellico Lake Properties to the Rarity Bay Country Club
Membership; and attaches a list of office equipment, computers and other property which
purports to be transferred. A true copy of this purported agreement is hereto attached as Exhibit
41.

6. The Fraudulent Conveyance of Rarity Bay Declarant’s Rights and the
Depletion of Cashflow and Waste of Assets by American Harper Corporation

198. On March 27, 2012, Rarity Management Company, LLC, amended the

Declarant’s rights at Rarity Bay to transfer those rights to Tellico Lake Properties LP. The

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agreement is signed on behalf of Rarity Management Company, LLC, by Rebecca Ross Jordan
and on behalf of Tellico Lake Properties LP, by Michael Ross A true copy of the agreement is
hereto attached as Exhibit 42.

199. On March 30, 2012, an e-mail was sent out to the Rarity Bay Property Owners
which advised the property owners that while the Club assets had been transferred to a new
ownership entity, “Mr. Ross is expected to remain in a consulting capacity.” A true copy of this
e-mail is hereto attached as Exhibit 43.

200. On April l, 2012, in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy, American Harper Corporation nominally became the operator of Rarity Bay.
However, all of the employees who formerly worked at Rarity Bay for the various Ross entities
including Rebecca Ross Jordan and others continued to work in the same offices doing
essentially the same jobs for the same pay.

201. During the calendar year 2012, Plaintiff alleges that Mr. Ross and Mr. Doukas
improperly took significant amounts of money out of cash flow from various aspects of Rarity
Bay operations including but not limited to the operations of the Rarity Bay golf course, club,
property owners’ association, and boat slips

202. Because of the cash flow generated by the lessees’ payments for use of the boat
slips there was more than a sufficient amount of funds available each month to pay for all of the
expenses for the boat slips including but not limited to a promissory note that had been taken out
on the property with United Community Bank.

203. However, instead of attempting to obtain permission from United Community

Bank for the purported transfer of the boat slips and then maintaining the payments due on the

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bank note, Mr. Ross and/or Mr. Doukas used a significant amount of the cash flow for other
purposes and allowed the property to go into default. Thereafter, United Community Bank
initiated foreclosure proceedings

204. Plaintiff specifically contends that Mr. Doukas and Mr. Ross through their
respective entities have allowed and are continuing to allow assets at Rarity Bay and elsewhere
to be wasted, including but not limited to the Rarity Bay Golf Course, the Rarity Bay boat slips
and the Rarity Bay Club. Plaintiff affirmatively states that said Defendants are engaging in this
conduct because they know that their conduct is fraudulent, they expect the conveyances
referenced herein to be set aside by the Court at some point in time, and they want to take and
convert all of the cash and resources they can before that occurs

205. Further, Plaintiff specifically states that the referenced conduct on the part of Mr.
Doukas and Mr. Ross through their agents and business entities has unjustly enriched some of
the other Defendants herein, including Mr. Doukas’ and Mr. Ross’ relatives including but not
limited to Giselle Doukas, Evelyn Ross and Rebecca Ross Jordan.

206. Plaintiff states that the conveyances and agreements referenced as Exhibits 40, 41 ,
and 42 above are fraudulent conveyances because they were made in an effort to hinder, delay
and defraud Mr. Stooksbury and Mr. Stooksbury’s claims in the 2009 Federal RICO case and
because they were made in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy.

7. Fraudulent Conveyances of Assets of LTR Properties Inc., to Ted Doukas /
Athena of SC, LLC

207. Based on the multi-party agreement and the fraudulent agreed judgments

referenced above, Defendants Ted Doukas and Mike Ross have conspired to allow Athena of SC,

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LLC, to obtain nominal control of LTR Properties Inc., and its assets through the execution of a
series of agreements as a means for attempting to put the assets of LTR Properties Inc., beyond
the reach of execution by Mr. Stooksbury and, at the same time, to enable Mr. Doukas and Mr.
Ross to have the use and benefit of those assets

208. As previously noted, on or about December 15, 2011, Athena of SC, LLC,
purported to obtain a security interest in all of the assets and property of LTR Properties Inc.

209. On February 24, 2012, Athena of SC, LLC, filed an execution in Knox County
Circuit Court, docket number 3-623-11. The execution requested a levy against a note from
RPM Assets LLC to LTR Properties lnc.; a 2006 Ford truck; and, numerous items of golf
course maintenance equipment, The execution paperwork was forwarded by the Court Clerk to
Blount County on the day the jury returned its verdict for punitive damages March 1, 2012.

210. Also on March l, 2012, Mr. Ross and Mr. Doukas executed a “Pledge Of Stock
Of LTR Properties Inc. and Option 'l`o Retain Stock between Michael Ross and Athena of S.C.,
LLC.”

211. On March 5, 2011, in a Chapter 11 bankruptcy proceeding initiated by Mr. Ross
without the requisite authority on behalf of Tellico Landing, LLC (in United States Bankruptcy
Court for the Eastem District of Tennessee as case number 3:11-bk-33018), Mr. Ross signed a
Disclosure Statement, purportedly on behalf of the debtor, Tellico Landing, LLC, asserting:

LTR Properties Inc., has had its assets executed upon through judicial process by

Athena of SC, LLC ("Athena"). Ted Doukas is the principal of Athena. Mr.

Doukas is an experienced developer and investor based in both Florida and New

York. He will form a new company, NEWCO, that will use LTR's former assets

for the benefit of the property owners creditors and the debtor. He is committed

to both the current lot owners and future owners at Rarity Pointe that all amenities

will be made available on a timely basis and be of a quality consistent with the

Rarity Pointe development. NEWCO will assume the existing contractual

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obligations of LTR under the Rarity Pointe Club Membership Plan. To the extent

requested, and if requested, by NEWCO, Mike Ross has agreed to be available to

it for consulting on an as needed basis. NEWCO shall continue the successful

management of the Rarity Pointe Community Association, Inc., and will use the

proven experience and professional sales track record of the Rarity Sales and

Marketing team which was directly responsible for Rarity Pointe's early sales

successes.

212. The bankruptcy action referenced above was subsequently dismissed by the Court
on Mr. Stooksbury’s motion based on Mr. Ross not having had the requisite authority to
commence the action,

213. On March 21, 2012, an Allonge And Assignment Of Notes an Assignment of
Mortgage, and an Assignment of Membership Interest were executed between LTR Properties
Inc. and Athena of SC, LLC; each of these agreements constitutes a fraudulent conveyance.

214. On April 20, 2012, without an appropriate basis or authority to do so, Athena of
SC, LLC, purportedly “as assignee of LTR Properties Inc.,” filed suit against RPM Assets LLC,
and Mitchell Jones, in Knox County Chancery Court, no. 182631-2.

215. On May l, 2012, the Execution issued on March 1, 2012, was returned by the
Blount County Sheriff to the Clerk. 'l`he document contains the following information:

OFFICER’S RETURN (other than wage garnishment); executed as follows:

(OR) executed by LEVYING on the following described property [then

handwritten] “Promissory Note - RPM Assets - LTR Properties.” On this 8 day

of March, 2012, [Signature Captain Randall Merks] with the handwritten

notation: “May 1, 2012 - Return to court per plaintiffs attorney - levied property

returned to defendant (see receipt) 5/1/2012 [Signature of Captain Randall Merks]

- Promissory Note was only item found in Blount County.”

216. True copies of the documents referenced in paragraphs 217, 220, 221 and 222 are

hereto attached as collective Exhibit 44.

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217. On May 11, 2012, Athena of SC, LLC, initiated foreclosure proceedings on
eleven (11) Rarity Bay condominiums owned by LTR Properties Inc. This foreclosure was
subsequently enjoined by the United States District Court pending the completion of the
Receiver’s investigation as part of the post-judgment proceedings in the 2009 Federal RICO
case,

218. Despite the assignments agreements executions and other steps taken by Mr.
Doukas, through his entities LTR Properties has at all times remained in the de facto control of
Mr. Ross.

219. This is evident from an e-mail exchange between Mr. Ross Gary Goldstein (Mr.
Doukas’ lawyer), and Lynn Tarpy on March 30, 2012, in which Mr. Ross writes: “Lynn/ Garry
(sic), there might be an opportunity to do a deal between Athena and WindRiver with LTR
cooperation by me and leave Stooksbury out flapping in the wind. Let’s discuss.” (emphasis
added). A true copy of that e-mail is hereto attached as Exhibit 45.

220. Mr. Stooksbury affirmatively states that the agreements encumbrances and
conveyances referenced in paragraphs 207 through 217 above are all improperly based on the
fraudulent multi-party agreement and the fraudulent agreed judgments referenced herein.
Accordingly, all such conveyances are fraudulent and constitute additional overt acts as a part of
the Illegal Rarity Conveyance Enterprise and Conspiracy.

E. Other Related Improper Conduct in the Illegal Rarity Conveyance
Enterprise and Conspiracy

221. Also iri furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy,
during relevant times Mr. Ross with the consent of Defendant Rebecca Ross Jordan, operated
and controlled an entity called LTR Marina, LLC, in a manner allowing Mr. Ross to receive cash

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and profits from its operations Plaintiff specifically states that Mr. Ross was at all times the
owner in fact of LTR Marina, LLC, and that Mr. Ross had simply formed said entity and named
Ms Jordan as its Chief Manager and/or Managing Member as a pretext; at no time did Ms.
Jordan give any consideration for any ownership interest in LTR Marina, LLC.

222. Plaintiff affirmatively states that LTR Marina, LLC, was a sham entity that was
used, at all relevant times as the instrumentality of Mr. Ross and that accordingly, said business
entity should be disregarded and all cash flow and assets of said entity should be deemed to be
the property of Mr. Ross such that all such funds and assets should be identified and used to
satisfy the Judgment in the 2009 Federal RICO case.

223. Another set of transactions and communications in the Illegal Rarity Conveyance
Enterprise and Conspiracy involving Mr. Ross Mr. Doukas and/or Mrs. Doukas, through entities
controlled by them, Was the purported conveyance of certain apartments and other assets to
entities controlled by Mr. Doukas during the relevant time period.

224. These assets include, but are not limited to, some apartments previously owned by
Vonore Properties LLC. On May 10, 2011, Vonore Properties LLC, had quitclaimed
apartments to Rarity Management Company, LLC, for no consideration, Then, on December 29,
2011, Defendants Michael Ross and Rebecca Jordan caused or allowed those same apartments to
be conveyed to Likos of Tennessee, Inc., the entity set up the previous month by Defendants Ted
Doukas and Giselle Doukas

225. Mr. Doukas and Mrs. Doukas formed Likos of Tennessee, Inc. in November of
2011 as a conduit for the acquisition of property pursuant to the Illegal Rarity Conveyance

Enterprise and Conspiracy. Plaintiff specifically states that these conveyances were fraudulent,

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lacked legitimate or sufficient consideration, were part of the Illegal Rarity Conveyance
Enterprise and Conspiracy, and were made for the purpose of preventing Mr. Stooksbury from
collecting on his claims in the 2009 Federal RICO case. True copies of some of the e-mails and
deeds exchanged by the Defendants involved in the multi-party agreement and their agents
pertaining to this transaction are hereto attached as collective Exhibit 46.

226. These e-mails reflect that counsel for Tennessee Land and Lakes, LLC, prepared
the deed for the conveyance and that concern was expressed to Ted Doukas regarding the lack of
adequate consideration for the transfer.

227 . Additionally, Plaintiff affirmatively states that Likos of Tennessee, Inc. is and has
been, at all relevant times a sham entity that has been the instrumentality of Ted Doukas and
Giselle Doukas Accordingly, the corporate formalities should be disregarded and all acts and
omissions on the part of Likos of Tennessee, Inc., should be deemed the acts and omissions of
Ted Doukas and Giselle Doukas

228. Further, Giselle Doukas’ service as a nominal owner of Likos of Tennessee, Inc.,
constitutes conduct committed in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy, rendering her separately and independently liable to the Plaintiff based on the causes
of action stated below.

229. At all relevant times Raposo Realty, LLC, was acting in concert with Defendants
Michael Ross and Ted Doukas in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy.

230. Plaintiff specifically asserts that the conduct of Defendants Michael Ross and Ted

Doukas with regard to the lots owned in the name of the Doukas entity Raposo Realty, LLC, as

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has been referenced in paragraphs above, was part of the Illegal Rarity Conveyance Enterprise
and Conspiracy.

231. Specifically, based upon information and belief, the only funds actually paid by
Raposo Realty, LLC, for the subject lots was one year’s worth of interest, paid in advance and no
further payment has been made ori the bank note by Mr. Doukas, Mr. Ross or any entity
controlled by either of them, including Raposo Realty, LLC. Further, it appears that said parties
do not intend to make any payments on those notes and have no intention of honoring their
guarantees

232. Further, Mr. Stooksbury affirmatively pleads that Raposo Realty, LLC, Was at all
relevant times a sham entity that was grossly undercapitalized and was used as the
instrumentality of Mr. Doukas in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy. Despite Mr. Doukas and/or Mr. Ross having sufficient hinds available to them to
pay the bank note on these lots as evidenced by the purchases of other bank notes as referenced
in this Complaint, said parties have defaulted on the notes have failed to pay homeowners’
association dues and yet have maintained ownership of the property in bad faith. Essentially,
said parties have attempted to use the formation of this business entity and the implicit threat of
the costs of holding them accountable in the court system as a means of avoiding payment while
continuing to maintain title to the property. Accordingly, such entity should be disregarded and
all conduct and liabilities of Raposo Realty, LLC should be found to be the conduct and resulting

liabilities of Ted Doukas and/or Michael Ross individually.

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233. At all relevant times another Ted Doukas entity, Breton Equity Company Corp.,
was acting in concert with Defendants Michael Ross and Ted Doukas in furtherance of the
Illegal Rarity Conveyance Enterprise and Conspiracy.

234. Plaintiff specifically asserts that in December of 2011, after Defendants Michael
Ross Ted Doukas, and James Macri had entered into the multi-party agreement referenced in
paragraphs 85 through 86 above and after Defendants Michael Ross and Ted Doukas, as part of
that scheme, entered into the friendly judgments referenced in paragraphs above in November of
2011, Defendants Michael Ross and Tellico Lake Properties LP, entered into an agreed
judgment with First American Title Insurance Company in Blount County Chancery Court action
no. 2010-113 with no intention of paying said judgment.

235. Instead, it was Mr. Ross’ intention (and the intention of Tellico Lake Properties
LP) to enter into said agreed judgment for the purpose of relying on the fraudulent agreed
judgments entered in November of 2011 as a pretext for becoming judgment proof as part of the
Illegal Rarity Conveyance Enterprise and Conspiracy.

236. Subsequently, Defendants Michael Ross and Ted Doukas devised a scheme
through which Mr. Doukas would purchase the First American Title judgment at a steep discount
and then attempt to use the judgment to hinder, delay and defraud Mr. Stooksbury following the
judgment rendered against the Judgment Debtors in the 2009 Federal RICO case,

237. On or about April 30, 2012, after entities controlled by Ted Doukas had already
entered into the conveyances transactions and agreements referenced above which by their
express terms purported to give a nearly seven million dollar agreed judgment to Athena of SC,

LLC, against Tellico Lake Properties LP, and, further, purported to transfer all of the assets of

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Tellico Lake Properties LP, to American Harper Corporation (through the March 20, 2012,
Agreement), Mr. Doukas bought the First American Title judgment for approximately one-fifth
of its value through an entity he owned called Breton Equity Company Corp.

238. Based on the objective circumstances and Mr. Doukas’ course of conduct since
purchasing the First American Title judgment, it is clear that Mr. Doukas, in collaboration with
Mr. Ross intended to use the judgment for the purposes of attempting to hinder, delay and
defraud Mr. Stooksbury and the judgment previously obtained by Mr. Stooksbury in the 2009
Federal RICO case.

239. Following the filing of the Receiver’s report in the 2009 Federal RICO case
which indicated that Mr. Doukas and Mr. Ross had been involved in fraudulent conveyances
Mr. Doukas, through Breton Equity Company Corp., filed a petition in the United States
Bankruptcy Court in Knoxville seeking to put Tellico Lake Properties LP, into a Chapter 7
bankruptcy. See United States Bankruptcy Court, In Re: Tellico Lake Properties LP, no. 3:12-
bk-34034. Petition [Doc. l].

240. Mr. Stooksbury specifically contends that Mr. Doukas, himself and through
Breton Equity Company Corp., filed the referenced Chapter 7 bankruptcy petition for the
purpose of hindering, delaying and/or defrauding Mr. Stooksbury. Indeed, the letter written by
Gary Goldstein, counsel for Mr. Doukas, on October 10, 2012, reflects Mr. Doukas’ desire to
hinder or delay, if not block altogether, the ongoing, extensive investigation of the Receiver into
the conduct of Mr. Doukas, Mr. Ross and their related entities and to attempt to force a new
“Trustee” to start over with new counsel. Gary Goldstein writes: “As you know, an involuntary

petition in bankruptcy was filed by Athena of SC, LLC (sic) against Tellico Lake Properties

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LLC . . . . all actions . . . are stayed. Once an Order for Relief has been entered, an independent
Trustee, most likely a panel Trustee, will be appointed to liquidate the assets of the Chapter 7
debtor, and process the claims The Trustee, who will not be the current Receiver, will select
counsel who shall not be the Receiver’s counsel.” A true copy of Mr. Goldstein’s letter is hereto
attached as Exhibit 47.

241. Further, Mr. Stooksbury affirmatively states that Breton Equity Company Corp.
was at all relevant times a sham entity that was grossly undercapitalized and was used as the
instrumentality of Mr. Doukas in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy. Accordingly, such entity should be disregarded and all conduct and liabilities of
Breton Equity Company Corp. should be found to be the conduct and resulting liabilities of Ted
Doukas and/or Michael Ross

242. In furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy, during
relevant times and including the time period from January 1, 2012, through the present, Mr.
Ross with the consent of Defendant Evelyn Ross operated and controlled Rarity Bay Realty,
Inc., in a manner allowing Mr. Ross to receive cash and profits from Rarity Bay operations
Plaintiff specifically states that Mr. Ross was at all times the owner in fact of Rarity Bay Realty,
Inc. and that Mr. Ross had simply put the stock of Rarity Bay Realty, Inc., in the name of
someone else in order to hinder, delay and defraud Mr. Stooksbury and Mr. Stooksbury’s claims
in the 2009 Federal RICO case.

243. As part of Mr. Ross’ effort to shield funds and assets improperly, Mr. Ross
initially gave all of the stock in Rarity Bay Realty, Inc., to his niece, Defendant Rebecca Ross

Jordan, for no consideration,

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244. Subsequently, in recognition of Ms. Jordan’s exposure for liability to Mr.
Stooksbury in the 2009 F ederal RICO case, Mr. Ross caused Ms Jordan’s interest in Rarity Bay
Realty, Inc., to be transferred to Mr. Ross’ wife, Evelyn Ross for no consideration

245. Plaintiff affirmatively states that Mr. Ross has at all relevant times maintained
control of Rarity Bay Realty, Inc.

246. Further, Plaintiff affirmatively states that Rarity Bay Realty, Inc., was a sham
entity that was used, at all relevant times as the instrumentality of Mr. Ross and that
accordingly, said business entity should be disregarded and all cash flow and assets of said entity
should be deemed to be the property of Mr. Ross such that all such funds and assets should be
identified and used to satisfy the Judgment in the 2009 Federal RICO case.

247. Further, the conduct of Evelyn Ross in serving as a nominal owner of Rarity Bay
Realty has been committed in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy, rendering her separately and independently liable to the Plaintiff based on the causes
of action stated below.

248. Accordingly, Plaintiff specifically states that the corporate structure of Rarity Bay
Realty Company, Inc. should be disregarded and Rarity Bay Realty Company, Inc. should be
treated as a sham entity, such that Defendants Michael Ross and Evelyn Ross are jointly and
severally liable to the Plaintiff for its conduct and participation in the referenced illegal
enterprise and conspiracy.

249. Plaintiff affirmatively states that Rarity Bay Realty Company, Inc., at all relevant
times has been operated for the purpose of wrongfully attempting to shield income and assets

from the reach of Mr. Stooksbury’s claims in the 2009 Federal RICO case.

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250. Similarly, also as part of Mr. Ross’ effort to shield fimds and assets improperly,
Mr. Ross established a shell entity called Consumer Research Company and put the company in
his wife’s name.

251. Based upon information and belief, as part of the Illegal Rarity Conveyance
Enterprise and Conspiracy, Mr. Ross has used Consumer Research Company as a conduit and/or
pass-through for improperly obtained funds and assets as a means of attempting to hinder, delay
or defraud Mr. Stooksbury.

252. Plaintiff affirmatively states that Mr. Ross has at all relevant times maintained
actual control of Consiuner Research Company and that Mrs. Ross though complicit in the
arrangement, had no significant role in the operation of the entity.

253. Further, Plaintiff affirmatively states that Consumer Research Company was a
sham entity that was used, at all relevant times as the instrumentality of Mr. Ross and that
accordingly, said business entity should be disregarded and all cash flow and assets of said entity
should be deemed to be the property of Mr. Ross such that all such funds and assets should be
identified and used to satisfy the Judgment in the 2009 Federal RICO case,

254. Further, the conduct of Evelyn Ross in serving as a nominal owner of Consumer
Research Company has been committed in furtherance of the Illegal Rarity Conveyance
Enterprise and Conspiracy, rendering her separately and independently liable to the Plaintiff
based on the cases of action stated below.

255. Accordingly, Plaintiff specifically states that the corporate structure of Consumer
Research Company should be disregarded and Consumer Research Company should be treated

as a sham entity, such that Defendants Michael Ross and Evelyn Ross are jointly and severally

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liable to the Plaintiff for its conduct and participation in the referenced illegal enterprise and
conspiracy,

256. Similarly, and as part of Defendant Ted Doukas’ participation in the subject
Illegal Rarity Conveyance Enterprise and Conspiracy, Mr. Doukas used an entity of his known as
Efastos Corp. in furtherance of the operation of illegal enterprise and conspiracy.

257. Based upon information and belief, as part of the Illegal Rarity Conveyance
Enterprise and Conspiracy, Mr. Doukas transferred funds from Efastos Corp. to John Stravato’s
trust account as part of the series of transactions comprising the multi-party agreement generally
described in paragraphs 85 through 86 (and elsewhere) above.

258. Accordingly, Efastos Corp. was an active participant in the subject Illegal Rarity
Conveyance Enterprise and Conspiracy and committed two or more predicate acts during
relevant times in furtherance of the goals of the enterprise.

259. Further, Plaintiff affirmatively states that Efastos Corp., was a sham entity that
was used, at all relevant times as the instrumentality of Mr. Doukas and that accordingly, said
business entity should be disregarded and all cash flow and assets of said entity should be
deemed to be the property of Mr. Doukas

260. Additionally, on account of said entity’s participation in the Illegal Rarity
Conveyance Enterprise and Conspiracy, all such funds and assets of Efastos Corp. used to
facilitate the multi-party agreement should be deemed to be forfeited by Mr. Doukas and Efastos
Corp. pursuant to the equitable doctrine of unclean hands

261. Plaintiff specifically contends that the conduct referenced in paragraph 256

through 260 above was committed with an intent to hinder, delay or defraud Mr. Stooksbury.

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262. Plaintiff asserts that Patricia Ross personally committed wrongful acts and is
individually liable to Plaintiff on account of Ms. Ross having facilitated, having signed
documents and having assented to the transfer of assets of the Estate of Dale Ross in furtherance
of the Illegal Rarity Conveyance Enterprise and Conspiracy.

263. Further, Plaintiff contends that Ms. Ross in her individual capacity and during the
calendar years 2011 and 2012, as well as other times during the pendency of the 2009 Federal
RICO case, collected, received and deposited rental income and other income from the Judgment
Debtors and deposited that income into accounts iri names other than those of the Judgment
Debtors which in turn hindered, delayed and defrauded Mr. Stooksbury.

264. Plaintiff contends that each act committed by Ms. Patricia Ross as has been
generally referenced iii paragraphs 262 and 263 constitutes a separate predicate act in furtherance
of the subject illegal enterprise and conspiracy.

265. Plaintiff avers that Defendant Michael Ross used several business entities as his
instrumentalities for the purpose of shielding income and transferring assets as part of the Illegal
Rarity Conveyance Enterprise and Conspiracy, including but not limited to: Defendants NJS
Development Company, LLC; WH McCollum & Co., LLC; Pine Mountain Partnership; Pine
Mountain Properties GP; RMT Cottages, LLC; RMT Properties LLC; RMT Properties LP;
RMT Village Shops, LLC; CC Properties LLC; RFD, LLC; Vonore Properties LLC; and
Tellico Communities LLC.

266. Based upon information and belief, Mr. Ross transferred property and assets to
and/or from each entity referenced in paragraph 265 above during the relevant time period in an

effort to hinder, delay or defraud Mr. Stooksbury.

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267. Based upon information and belief, each such entity referenced in paragraph 266,
above, committed wrongful predicate acts at relevant times in furtherance of the subject illegal
enterprise and conspiracy.

268. Further, Plaintiff affirmatively states that each entity referenced in paragraph 266
above was a sham entity that was used, at all relevant times as the instrumentality of Mr. Ross
and that accordingly, each such business entity should be disregarded and all cash flow and
assets of each such entity should be deemed to be the property of Mr. Ross such that all such
funds and assets should be identified and used to satisfy the Judgment in the 2009 Federal RICO
case,

269. Based upon information and belief, Defendant RM Company, LLC, a Judgment
Debtor, fraudulently conveyed property to a third party in furtherance of the subject Illegal
Rarity Conveyance Enterprise and Conspiracy and in an effort to hinder, delay or defraud Mr.
Stooksbiu'y.

270. Specifically, Mr. Ross as owner of RM Company, LLC, gave a third party an
executed quitclaim deed purporting to transfer 12 lots in McMinn County, Tennessee, being lots
63, 64, 65, 80, 81, 82, 83, 89, 90, 91, 93, and 95 in Phase One of Rarity Meadows.

271. Based on the friendly, pre-arranged agreed judgments and various agreements
purportedly entered between Mr. Ross and Mr. Doukas and entities owned and controlled by
them as are generally referenced herein, as well as similar agreements which may be discovered
either during the continuing investigation of this matter or during discovery in this case, Mr.
Ross his relatives and their various entities who are Judgment Debtors in the 2009 Federal

RICO case purport to have conveyed all of their real property, personal property, and assets to

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Mr. Doukas’ entities Mr. Stooksbury contends that all such conveyances were and are
fraudulent conveyances which were made without adequate consideration, with no consideration,
or with illegal or invalid consideration which should be found to be fraudulent

272. More specifically, based on the multi-party agreement and agreed judgments
referenced above, Ted Doukas and Michael Ross have ostensibly transferred the assets of
Judgment Debtors / Ross entities Tellico Lake Properties LP, LTR Properties Inc., Rarity
Management Company, LLC, and Michael Ross personally to various entities formed by Mr.
Doukas, including but not limited to Athena of SC, LLC, and American Harper Corporation, as a
means of putting the assets of the Judgment Debtors / Ross entities beyond the reach of Mr.
Stooksbury as a creditor. Mr. Doukas and Mr. Ross have essentially been using the various
Doukas entities which are Defendants herein as their instrumentalities in a de facto joint
enterprise and/or joint venture for the benefit of themselves and their relatives including Giselle
Doukas, Evelyn Ross Rebecca Ross Jordan, and/or Patricia Ross

273. The transfers referenced herein were accomplished in conjunction with and in
concert with other transfers by and between the Defendants herein and related parties for the
purpose of hindering, delaying and defrauding Mr. Stooksbury; and most, if not all of these
transfers were accomplished through the use of the mail, phone lines wires and/or the intemet,
This conduct was masterminded by and on behalf of Mr. Ross Mr. Macri and Mr. Doukas and
their agents and was facilitated by relatives of Mr. Ross and Mr. Doukas as well as by various
business entities owned and/or controlled by them, including but not limited to the business

entity Defendants named herein.

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274. Mr. Doukas and Mr. Ross have continued to conspire to work together, through
their agents to conjure up documents iri an effort to establish a paper trail that might cover their
Illegal Rarity Conveyance Enterprise and Conspiracy, even afier the appointment of a Receiver
on or about May 23, 2012, as part of post-judgment proceedings in the 2009 Federal RICO case;
an example of this conduct is an e-mail sent from an attorney for Mr. Doukas, Gary Goldstein,
which was then forwarded to Mr. Ross on July 12, 2012 at 3:50 p.m., and states:

I did complete redraft. See the enclosed in pdf and word format.
We have to show real consideration and fight about the allocation
later. That way if the Receiver gets a copy which we can assume
he will you still have an argument that it was not a fraudulent

conveyance from Rebecca Jordan.

This also helps to provide an explanation for Mark [Brown] to
relate to the Judge what happened.

Try and get it signed ASAP and return to me for Mark

A true copy of this e-mail is hereto attached as Exhibit 48.

COUNT I: RICO VIOLATIONS 18 U.S.C. § 1962 -
BANKRUPTCY FRAUDa WIRE FRAUD

Predicate Acts Forming A PaderLOf Cogluct Committed During the Course Of
The Subject Enterprise and Conspiracy

275. The contentions stated in paragraphs l through 274 above are incorporated in this
Count by this specific reference.

276. As set forth in detail above, Defendants themselves and through their agents
engaged in an illegal and fraudulent scheme to hinder, delay and defraud Mr. Stooksbury and his
claims in the 2009 Federal RICO case by executing various agreements conveyances and

agreed judgments

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277. A central component of the multi-party agreement referenced in paragraphs 85
and 86 (and elsewhere) was the improper conveyance of a key asset of VPI Company, LLC, the
Declarant’s Rights at Rarity Enclave, outside said entity’s pending bankruptcy action when the
asset had not been disclosed to the United States Bankruptcy Court.

278. Moreover, as has been discussed in greater detail above, the Declarant’s Rights at
Rarity Enclave were exchanged during the referenced multi-party agreement for the transfer of
the SunTrust notes and the expected deficiency judgment against VPI Company, LLC to a
designee of Mr. Ross’ attorney in the 2009 Federal RICO case,

279. The rights and assets exchanged during the multi-party agreement between Mr.
Ross Mr. Macri, Mr. Doukas, and entities controlled by them served as the predicate and
foundation for numerous wrongful acts thereafter by these individuals and entities as well as
related individuals and entities many of which are outlined above.

280. ` Said conduct, along with other conduct described herein, was committed on a
regular and consistent basis by and between the Defendants and their agents and comprised a
significant part of the pattern of predicate acts committed during the operation of the subject
Illegal Rarity Conveyance Enterprise and Conspiracy.

281. The acts and omissions comprising the pattern of illegal and improper conduct
generally referenced above were the proximate and legal cause of significant damages and losses
sustained by individuals such as Mr. Stooksbury.

282. Said conduct, along with the other conduct described herein, was committed on a

regular and consistent basis during the pendency of the 2009 Federal RICO case, and in

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particular between August of 2011 through the present, and comprised a significant part of the
pattern of predicate acts committed during the operation of the subject enterprise and conspiracy.

283. Plaintiff specifically pleads that the wrongful conduct described in the factual
allegations contained in each of the legal actions referenced above, as well as the wrongful
conduct as is reflected in the attached exhibits to those actions are predicate acts which
comprises the illegal enterprise and conspiracy described herein.

284. As a direct and proximate result of said wrongful and fraudulent conduct which
was committed by and/or which is attributable to the Defendants herein, Mr. Stooksbury suffered
economic damages and losses which are described more fully below,

285. Each of the Defendants herein is a “person" as defined by 18 U.S.C. § 1961(3),
because each is an entity capable of holding a legal or beneficial interest in property.

286. Defendants herein who participated in the activities of the Illegal Rarity
Conveyance Enterprise and Conspiracy described in this Complaint are collectively an
"enterprise" Within the meaning of 18 U.S.C. § 1961(4), Which allows groups of individuals
associated in fact though not a legal entity to be an enterprise. The enterprise had: a common
purpose, described injia; an ongoing structure or organization supported by personnel or
associates with continuing functions or duties; relationships among those associated with the
enterprise; and longevity sufficient to permit those associates to pursue the enterprise’s purpose,

287. Upon information and belief, a hierarchy and joint venture by and between
Defendants Michael Ross, Ted Doukas and James Macri existed as leaders while the other
individual Defendants named herein participated in and/or facilitated the implementation of the

enterprise’s affairs

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288. The enterprise is distinct from the pattern of racketeering activity in which the
Defendants have engaged and the enterprise is distinct from any one defendant

289. Each of the Defendants knowingly agreed to facilitate, to operate or to manage the
enterprise.

290. The activities of the enterprise and/or the predicate acts of racketeering affected
interstate commerce during the relevant time period, including but not limited to the time period
between August of 2011 through the present. As described infra, the enterprise consisted of the
conveyance and/or transfer of assets without adequate consideration, or with improper or
insufficient consideration, for the purpose of hindering, delaying and defrauding Mr. Stooksbury
and Mr. Stooksbury’s claims and judgment in the 2009 Federal RICO case,

291. The Defendants engaged in a pattern of racketeering activity, as defined in §1961(5),
because two or more acts of racketeering activity Were committed, the last of which occurred
within two years afier the commission of a prior act of racketeering activity. Further, the
conduct in the subject illegal enterprise and conspiracy consisted of numerous acts committed
frequently throughout the pendency of the 2009 Federal RICO case, and in particular between
August of 2011 and the present.

292. These acts were related, as has been described supra, because: (l) the same or
similar purpose was to hinder, delay and defraud Mr. Stooksbury; (2) the same or similar results
are that Mr. Stooksbury has been hindered, delayed and defrauded in attempting to collect his
judgment in the underlying 2009 Federal RICO matter; (3) the same or similar participants are
Defendants Ross Doukas, Macri, the relatives of Mr. Ross and Mr. Doukas who are individual

Defendants herein, and the various business entity Defendants herein in which the individual

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Defendants have an interest, all of whom participated in the activities described in this
Complaint and constitute the enterprise; (4) the enterprise has the same victim, which is Mr.
Stooksbury; and (5) the same or similar methods of commission are, for example, that members
of the enterprise and their agents would execute agreements plans and documents with an intent
to hinder, delay and defraud Mr. Stooksbury.

293. The acts referenced herein were continuous both because a series of related acts
were committed which extended over a substantial period of time and because there is the thread
of continuity given that the predicate acts of racketeering were a regular way the individual
Defendants (and their related business entities) were conducting business and enjoying the
profits of the illegal enterprise and conspiracy.

294. The wrongful conduct described above in furtherance of the illegal Rarity
Conveyance Enterprise and Conspiracy constitutes a pattern of predicate acts of the racketeering
activity attributable to the Defendants on account of Defendants’ conduct

295. Defendants committed mail fraud, wire fraud, and/or bankruptcy fraud by
committing the predicate acts of racketeering activity referenced above as part of a scheme to
defraud, which resulted in a foreseeable injury to Mr. Stooksbury and which acts are indictable
under 18 U.S.C. §§ 1341, 1343.

296. As part of the fraud, Defendants committed the predicate acts and schemes
referenced above and money or property was an object of those schemes Upon information and
belief, Defendants and/or their agents used the United States mail, the intemet, wire, and/or fax
machines on a regular basis during said time period in interstate commerce to further the scheme.

297. For example, when Mr. Stravato, as agent for Mr. Ross and/or Mr. Doukas wired

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the $1,560,000 for Mr. Shanks (in two installments on two separate occasions) to hold “in
escrow,” Defendants Ross Macri and Doukas were furthering a scheme to defraud; money or
property was an object of that scheme; and they used mail and/or wire to further the scheme.

298. Similarly, when the various e-mails were exchanged in furtherance of the illegal
enterprise that have been referenced above, each act of sending or receiving each such e-mail
constituted a predicate act in furtherance of the illegal enterprise and conspiracy.

299. Each of the various predicate acts by Defendants was committed well within ten
years of each other and were committed on a regular, periodic basis such that they are
sufficiently related to form a pattern of racketeering activity.

300. As examples of the conduct on the part of Defendants Macri, Ross Doukas, and
their referenced respective business entity Defendants which constitutes bankruptcy fraud,
Defendants committed the following predicate acts of racketeering activity as part of a scheme to
defraud, which resulted in a foreseeable injin'y to others and which acts are indictable under 18
U.S.C. §152.

301. During the course of negotiations regarding the First Bank Note encumbering
Rarity Enclave as set forth above, Defendants James Macri, Michael Ross Ted Doukas said
Defendants’ agents and the business entities controlled by them had actual knowledge that VPI
Company, LLC, was in Chapter 11 bankruptcy in the United States District Court for the Eastem
District of Tennessee, and that the Covenants Conditions and Restrictions for Rarity Enclave
(“the Declarant’s Rights for Rarity Enclave”) were owned by VPI Company, LLC, and were a

valuable asset belonging to VPI Company, LLC.

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302. Nevertheless none of said Defendants disclosed to the United States Bankruptcy
Court the fact that they were exchanging and conveying the Declarant’s Rights for Rarity
Enclave as part of their multi-party agreement negotiated and executed in September of 2011,
outside of the bankruptcy proceedings

303. To the contrary, the parties to the multi-party agreement took affirmative steps to
conceal the conveyance of the Declarant’s Rights at Rarity Enclave to Tennessee Land and
Lakes until afier the pending bankruptcy action of VPI Company, LLC, had been dismissed

304. In violation of 18 U.S.C. § 152, Defendants knowingly concealed from officers of
the Court the Declarant’s Rights of Rarity Bay in connection With the VPI, LLC bankruptcy case
and, further, had actual or constructive knowledge that VPI Company, LLC, through Michael
Ross, had knowingly made one or more false entries in recorded bankruptcy filings relating to
the property and financial affairs of VPI Company, LLC.

305. As has been outlined iri significant detail above, Defendants engaged in a series of
negotiations conveyances and transfers through various e-mails and communications over the
phone, fax machine, intemet, and wire, during their commission of the various predicate acts
comprising the Illegal Rarity Conveyance Enterprise and Conspiracy; as a result of the illegal
enterprise and conspiracy, Defendants transferred all or substantially all of their assets to other
individuals or entities in derogation of Mr. Stooksbury’s claims and resulting judgment in the
2009 Federal RICO case,

306. Plaintiff has standing to bring these claims because he is a person who has

sustained injury to his business or property by reason of the Defendants’ conduct,

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307. Specifically, Mr. Stooksbury has a significant judgment against the Judgment
Debtors in the 2009 Federal RICO case, including but not limited to a significant judgment
against Defendants Michael Ross Rebecca Jordan, Patricia Ross on behalf of the estate of Dale
Ross Tellico Lake Properties LP, Rarity Management Company, LLC, LTR Properties LLC,
and VPI Company, LLC.

308. Plaintiff incorporates herein by reference the contemporaneously filed Civil RICO
Statement.

309. The predicate acts referenced above occurred well within ten years of each other
and were committed on a regular, periodic basis by and between the Defendants such that they
are sufficiently related to form a pattern of racketeering activity. Each of the Defendants
participated in, influenced, facilitated, and/or aided and abetted the transactions

310. As a direct and proximate result of the wrongful and illegal conduct which was
committed by and/or is attributable to the Defendants Plaintiff suffered significant financial
losses and has been prevented from collecting on the 2009 Federal RICO Judgment.

18 U.S.C. § 19621¢[

311. The allegations in paragraphs 1 through 310 are incorporated herein by reference.

312. The enterprise defined in said paragraphs is an enterprise in which Defendants
engaged; Defendants’ activities affected interstate commerce; and Defendants were employed by
and/or were associated with said enterprise at all relevant times

313. Defendants were employed by or Were associated with the Illegal Rarity

Conveyance Enterprise and Conspiracy described in this Complaint and participated in the

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conduct of the enterprise’s affairs either directly or indirectly, through a pattern of racketeering
activity.

314. Further, Defendants’ conduct in the various predicate acts generally described
herein which were committed in furtherance of the Illegal Rarity Conveyance Enterprise and
Conspiracy included two or more predicate acts of bankruptcy fraud, wire fraud, and/or mail
fraud in violation of 18 U.S.C. §§ 152, 1341, and 1343.

315. As direct and proximate result of said conduct, Plaintiff suffered the injuries and
losses referenced herein,

18 U.S.C. § 1962(d)

316. The allegations of paragraphs 1 through 315 are incorporated herein by reference.

317. As set forth above, the 1962(d) Defendants agreed and conspired to violate 18
U.S.C § l962(c). Defendants have intentionally conspired and agreed to directly and indirectly
use or invest income that is derived from the pattern of racketeering activity described above,
which was an interstate enterprise.

318. Defendants acquired or maintained interests in the enterprise through a pattern of
racketeering activity, and conducted and participated in the conduct of the affairs through a
pattern of racketeering activity. Defendants knew that their predicate acts Were part of a pattern
of racketeering activity and agreed to the commission of those acts to further the scheme
described above. Accordingly, based on the acts and omissions referenced above, said conduct
of the individual Defendants and their related business entities constitutes a conspiracy to violate

18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

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319. As a direct and proximate result of the conduct referenced above, Mr. Stooksbury
has suffered damages and losses including but not limited to the value of the assets of the
Judgment Debtors which were unlawfully and wrongfully conveyed; the costs of investigating
and prosecuting this action, which Plaintiff specifically states was foreseeable and was a direct
consequence of the conduct of the Defendants herein; and the investment value and/or interest on
said amounts

18 U.S.C.§ 1964§¢[

320. Because of Defendants’ violations of the Racketeer Influenced and Corrupt
Organizations Act, 18 U.S.C. §§1961, et seq., in the manner described herein, Defendants are
liable to Plaintiff for treble damages and all attorneys’ fees and costs in accordance with 18
U.S.C. § l964(c) and Plaintiff specifically requests that relief.

COUNT II: FRAUI_) ON THE COURT/ VIOLATION
OF FEDERAL COMMONLAW

321. The contentions stated in paragraphs 1 through 320 above are incorporated in this
Count by this specific reference.

322. The wrongful conduct of the Defendants outlined above constitutes a fraud on the
Court in violations of federal common law.

323. Plaintiff specifically states that each of the Defendants and their agents in this
action either participated in or facilitated the Illegal Rarity Conveyance Enterprise and
Conspiracy described above.

324. Defendants and their agents engaged in this conduct either with the actual intent
to commit a fraud on the United States District Court for the Eastem District of Tennessee and/or
the United States Bankruptcy Court for the Eastern District of Tennessee or with the intent to

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facilitate said conduct at times when the Defendants knew or should have known that their
conduct was wrongful, illegal, and fraudulent

325. By virtue of Defendants’ wrongful acts and omissions as well as acts committed
in furtherance of the illegal Rarity Conveyance Enterprise and Conspiracy described above, each
Defendant herein either committed actual or constructive fraud and said fraud subverted the
integrity of the Court itself.

326. Plaintiff specifically states that Defendants’ wrongful conduct was the proximate
and legal cause of Plaintiff’ s damages and losses in that despite Defendants’ actual and/or
constructive notice of Plaintiff’s claims in the 2009 Federal RICO case, Defendants’ conduct
rendered the Judgment Debtors insolvent and unable to satisfy the Court’s Judgment in the
underlying 2009 Federal RICO case.

327. Further, as a direct and proximate result of said conduct, Mr. Stooksbury has
suffered damages and losses including but not limited to the value of the assets of the Judgment
Debtors which were unlawfully and wrongfully conveyed; the costs of investigating and
prosecuting this action, which Plaintiff specifically states was foreseeable and was a direct
consequence of the conduct of the Defendants herein; and the investment value and/or interest on
said amounts

COUNT III: FRAUI_)ULENT TRANSFER
T.C.A. § 66-3-301 et. seg.

328. The contentions stated in paragraphs 1 through 327 above are incorporated in this
Count by this specific reference.
329. Pursuant to T.C.A. § 66-3-302 the Plaintiff is a “Creditor” who has a “Claim”

against Defendants

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330. Pursuant to T.C.A. § 66-3-302, each of the Defendants was an “insider” and/or
“affiliate” at the time of the conveyances that are outlined and referenced in the Complaint,
supra.

331. Each of the transactions made and each of the obligations incurred by the
Judgment Debtors who are Defendants herein as outlined and referenced in the Complaint,
supra, was made or incurred with the actual intent to hinder, delay, or defraud the Plaintiff in
violation of T.C.A. § 66-3-305(a)(1).

332. Additionally, each of the transactions made and each of the obligations incurred
by the Judgment Debtors who are Defendants herein as outlined and referenced in the
Complaint, supra, was made or incurred by the respective Defendant(s) without the Judgment
Debtor / Defendant having received a reasonably equivalent value in exchange for the transfer or
obligation; further, at the same time of each such transaction made and each such obligation
incurred, said Judgment Debtor / Defendant either was engaged in or was about to engage in a
business or a transaction for which the remaining assets of the Judgment Debtor / Defendant
were unreasonably small in relation to the business or transaction, or said Judgment Debtor /
Defendant intended to incur, or believed or reasonably should have believed that said Judgment
Debtor / Defendant would incur debts beyond the debtor’s ability to pay, in violation of T.C.A. §
66-3-305(a)(2).

333. With respect to each of the transactions made or obligations incurred that are
described generally in the Complaint, supra, one or more of the following factors was present:
the transfer or obligation was to an insider or affiliate; the Judgment Debtor retained substantial

de facto control over the asset(s) after the transaction was made or the obligation was incurred;

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the transfer or obligation was initially concealed; before the referenced events the Judgment
Debtor / Defendant had been sued; the series of transactions rendered the Judgment Debtor/
Defendant substantially insolvent; the Judgment Debtor / Defendant had taken steps to conceal
or transfer assets to another person or entity prior to the referenced event; the value received by
the Judgment Debtor/ Defendant was unreasonably small and not equivalent for the particular
transaction; and/or essential assets of the Judgment Debtor / Defendant were transferred to a
lienor who then transferred the assets to an insider or affiliate of the Judgment Debtor /
Defendant

334. Further, each of the transactions made and each of the obligations incurred by the
Judgment Debtors who are Defendants herein as outlined and referenced in the Complaint,
supra, was made or incurred by the respective Defendant(s) without the Judgment Debtor /
Defendant having received a reasonably equivalent value in exchange for the transfer or
obligation; further, each such transaction or obligation and/or as the transactions or obligations
involving each of the Judgment Debtors as described herein, When taken as a whole, rendered the
Judgment Debtors substantially insolvent and, accordingly, each such transaction made or
obligation incurred by the Judgment Debtors/ Defendants which are referenced in the Complaint,
supra, violate T.C.A. § 66-3-306.

335. As a direct and proximate result of the conduct referenced above, Mr. Stooksbury
has suffered damages and losses including but not limited to the value of the assets of the
Judgment Debtors which were unlawfully and wrongfully conveyed; the costs of investigating

and prosecuting this action, which Plaintiff specifically states was foreseeable and was a direct

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consequence of the conduct of the Defendants herein; and the investment value and/or interest on
said amounts
COUNT IV: INJUNCTIVE RELIEF

336. The contentions stated in paragraphs l through 335 above are incorporated in this
Count by this specific reference.

337. Based on the wrongful, illegal and fraudulent conduct committed by Defendants
the Receiver previously appointed in the 2009 Federal RICO case should be immediately
appointed as Receiver in this related action,

338. Further, the Receiver should be allowed to have immediate oversight, if not
custody and control, of any and all assets that are the subject of this action pending a final
resolution of this case to preserve said assets and to prevent further waste of said assets with all
costs incurred by the Receiver in performing his work and protecting and preserving said assets
being paid out of the Receivership.

339. Additionally, to the extent the Receiver does not take possession of any of the
referenced assets Defendants should be enjoined from wasting or dissipating any such assets
including but not limited to the Rarity Bay golf course, the Rarity Bay golf club, the Rarity Bay
boat docks and other related amenities

340. For these same reasons Defendants should be required to provide promptly to the
Receiver a full and complete accounting of their use of each asset that is part of the subject
matter of this action, including but not limited to the Judgment Debtors’/ Defendants’ property,

property rights profits and any income obtained through any operations or on account of any

property rights

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341. Defendants should be enjoined from making any sales transfers conveyances
gifis or encumbrances of any kind with regard to any of the assets that are the subject of this
action or assets in which any of the Judgment Debtors have any interest pending the resolution of
this action and the full satisfaction of Plaintiff’s Judgment iri the 2009 Federal RICO case.

342. It is appropriate for the Court to waive the bond requirement under Rule 65(c),
because the harm as a result of issuance of the injunction can be minimized by the appointment
of the Receiver.

343. If Defendants are permitted to conceal, sell, transfer, dispose, lease, assign, or
remove money and property, Plaintiff will suffer immediate and irreparable harm because his
chances of ever enforcing the Federal RICO Judgment will be compromised, if not eliminated.

COUNT V: PUNITIVE DAMAGES

344. The contentions stated in paragraphs l through 343 above are incorporated in this
Count by this specific reference.

345. Plaintiff specifically states that Defendants’ conduct during the commission of the
acts outlined above was intentional, reckless and/or fraudulent such that punitive damages
should be assessed against Defendants in the amount the trier of fact deems appropriate and just.

COUNT VI: UNJUST ENRICHMENT

346. The contentions stated in paragraphs l through 345 above are incorporated in this
Count by this specific reference.

347. Regardless of whether some of the individual Defendants had actual knowledge

of the fraud being committed by the leaders of the subject illegal enterprise and conspiracy, all of

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the Defendants profited from the ill-gotten gain generated by the fraudulent and wrongful
conduct that is the subject of this action.

348. Accordingly, Plaintiff specifically asserts pendent state law equitable claims in
this case for unjust enrichment and states that each Defendant herein is liable to Plaintiff for the
amount of funds profits and/or assets each such Defendant has enjoyed and/or used and/or
benefited from as a result of said fraudulent and wrongful conduct

349. Further, to the extent any of the ill-gotten gain generated or obtained as a result of
the fraudulent and wrongful conduct was used to purchase life insurance policies or has been
deposited into any investment account, 401(k) account, IRA account, or retirement account of
any kind, any and all such funds should be found to be forfeited and paid over to the Plaintiff in
satisfaction of Plaintiff’s damages herein.

COUNT VII: UNCLEAN HANDS AND EQUITABLE RELIEF

350. The contentions stated in paragraphs l through 349 above are incorporated in this
Count by this specific reference.

351. Defendants should be found to have forfeited any and all interest in any asset that
is part of the subject matter of this action, as well as any profits generated from the use of any
such asset, pursuant to equitable principles and doctrines of equity, including but not limited to
the doctrine of unclean hands

352. For these same reasons to the extent any Defendant may be shown to have
invested money and/or assets during the course of any of the conduct that is the subject of this

case and/or in furtherance of any of the predicate acts that are the subject of the Illegal Rarity

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Conveyance Enterprise and Conspiracy, all such funds and/or assets should be deemed forfeited
pursuant to the doctrine of unclean hands

353. Plaintiff specifically contends that Ted Doukas, Mike Ross Jim Macri, and/or any
business entity owned and/or controlled by one or more of them should be found to have
forfeited any and all funds used to purchase the SunTrust notes the First Bank note, and/or any
other note, judgment, or commercial paper in furtherance of the Illegal Rarity Enterprise and
Conspiracy and that in equity, all such funds and any collateral, rights or obligations associated
with either the funds or the notes judgments or commercial paper should be paid over to the
Plaintiff in satisfaction of Mr. Stooksbury’s claims in the 2009 F ederal RICO case,

354. Similarly, to the extent any Defendant may be shown to have profited from any
funds used or any assets obtained during the course of the Illegal Rarity Conveyance Enterprise
and Conspiracy, all such profits should be paid over to the Plaintiff in satisfaction of Mr.
Stooksbtn'y’s claims in the 2009 Federal RICO case pursuant to principles of equity, including
but not limited to the doctrine of unclean hands and the doctrine of the fruit of the poisonous
tree.

355. Moreover, based on the same principles of equity, to the extent any Defendant
may be shown to have obtained any assets during the course of the operation of the Illegal Rarity
Conveyance Enterprise and Conspiracy, all such assets should be allowed to be seized either by
the Receiver or by the United States Marshal and sold, with the proceeds to be paid over to the

Plaintiff in satisfaction of Mr. Stooksbury’s claims in the 2009 Federal RICO case.

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PLAINTIFF’S DAMAGES

356. The contentions stated in paragraphs l through 355 above are incorporated in this
Count by this specific reference.

357. As a direct and proximate result of the wrongful and illegal conduct which was
committed by and/or attributable to the Defendants as described above, Robert T. Stooksbury has
suffered significant financial losses and damages which are approximately equivalent to the
amounts awarded to Plaintiff in the 2009 F ederal RICO case, plus the costs of investigating and
prosecuting this action and pre-judgment interest

358. Further, as has been referenced above, based on the RICO violations referenced
above and in accordance with the provisions of 18 U.S.C. § 1964(c), Plaintiff seeks treble
damages and all attomeys’ fees and costs incurred in the course of investigating and prosecuting
this action.

359. Based on the Tennessee state law violations referenced above, Plaintiff is entitled
to punitive damages in the amount the trier of fact deems appropriate and just, not to exceed
twice the amount of Plaintiff’s compensatory damages generally referenced above.

WHEREFORE, Plaintiff Stooksbury respectfully requests:

1. That process issue and be served upon the Defendants requiring them to answer
this Complaint within the time and manner prescribed by law;

2. That the Receiver previously appointed in the 2009 Federal RICO case be
immediately appointed as Receiver in this related action;

3. That the Receiver be allowed to have immediate oversight, if not custody and

control, of any and all assets that are the subject of this action pending a final resolution of this

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case to preserve said assets and to prevent further waste of said assets with all costs incurred by
the Receiver in performing his work and protecting and preserving said assets being paid out of
the Receivership, and further that to the extent the Receiver does not take possession of any of
the referenced assets that Defendants be enjoined from wasting or dissipating any such assets
including but not limited to the Rarity Bay golf course, the Rarity Bay boat docks and other
related amenities;

4. That the Defendants be required to provide promptly to the Receiver a full and
complete accounting of their use of each and every asset that is part of the subject matter of this
action, including but not limited to property, property rights profits and any income obtained
through any operations or on account of any property ri ghts;

5. That Defendants be found to have forfeited any and all interest in any asset that is
part of the subject matter of this action, as well as any profits generated from the use of any such
asset, pursuant to equitable principles and doctrines of equity, including but not limited to the
doctrine of unclean hands;

6. That Defendants be enjoined from making any sales transfers conveyances gifts
or encumbrances of any kind with regard to any of the assets that are the subject of this action or
assets in which any of the Judgment Debtors have any interest pending the resolution of this
action and the full satisfaction of Plaintiff’s Judgment in the 2009 Federal RICO case;

7. That each and every wrongful and/or fraudulent transaction and conveyance that
is the subject of this action be set aside pursuant to T.C.A. §§ 66-3-301, et seq., be declared null

and void, and/or be equitably reformed such that the assets that are the subject of said

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transactions and conveyances be attached and given over to the custody and care of the Receiver
for such purposes as the Court directs;

8. That any assets or funds of the Defendants or their agents which are found to have
been used to facilitate any such wrongful and/or fraudulent transaction or conveyance, including
but not limited to the funds used by the Defendants referenced above for the purchase of the
SunTrust notes and the First Bank notes referenced herein, and any profits generated from the
use of any such assets or funds including but not limited to the sale of property and operations at
Rarity Bay and the sale of property at Rarity Enclave, be deemed to be forfeited, paid over to the
Receiver, and/or awarded to Plaintiff in accordance with equitable principles and doctrines of
equity, including but not limited to the doctrine of unclean hands;

9. That Plaintiff recover from the Defendants jointly and severally, full restitution
for his compensatory and special damages which are approximately equivalent to the amounts
awarded to Plaintiff in the 2009 Federal RICO case, as Well as the costs of investigating and
prosecuting this subsequent ancillary action;

10. That Defendants be assessed with punitive damages in the amount the trier of fact
deems appropriate and just, not to exceed twice the amount of Plaintiff’s compensatory damages
generally referenced above;

ll. That Plaintiff recover all of his attomeys’ fees and costs allowable by statute or
common law, including but not limited to 18 U.S.C. § 1964(c), as Well as pre-judgment interest
in the maximum amount allowed by law and all discretionary costs allowable pursuant to Fed. R.

Civ. P. 54; and

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12. That a jury be empaneled to hear this cause and that Plaintiff be granted such
other relief as this Honorable Court deems appropriate and just
Respectfully submitted this 19th day of October, 2012,

ROBERT 'I`. STOOKSBURY, JR.

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